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                ORAL ARGUMENT NOT YET SCHEDULED

                                 No. 22-1076


               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

                            FONTEM US, LLC,
                                             Petitioner,
                                       v.
        UNITED STATES FOOD AND DRUG ADMINISTRATION,
                                             Respondent.

         On Petition for Review of a Final Marketing Denial Order
                by the U.S. Food and Drug Administration

                        BRIEF FOR RESPONDENT


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  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

     Pursuant to Circuit Rule 28(a)(1), counsel certifies as follows:

     A. Parties and Amici. Petitioner is Fontem US, LLC. Respondent is

the U.S. Food and Drug Administration (FDA). No other parties or amici

appeared in the agency proceeding.

     B. Rulings Under Review. The ruling under review is a marketing

denial order issued by FDA on April 8, 2022.

     C. Related Cases. This case has not previously been before this

Court or any other court. Counsel is not aware of any related cases within

the meaning of Circuit Rule 28(a)(1)(C).



                                          s/ Garrett Coyle
                                           GARRETT COYLE




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                              GLOSSARY

Act              Family Smoking Prevention and Tobacco Control Act

AR               Administrative Record

FDA              United States Food and Drug Administration

JA               Joint Appendix




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                             INTRODUCTION

      The Family Smoking Prevention and Tobacco Control Act (Tobacco

Control Act or Act) makes it unlawful for a manufacturer to market a “new

tobacco product” — defined as a tobacco product that was not on the

market as of February 15, 2007 — without authorization from the U.S. Food

and Drug Administration (FDA). The Act requires FDA to deny an

application to market a new tobacco product unless FDA finds that

marketing the product would be “appropriate for the protection of the

public health,” considering “the risks and benefits to the population as a

whole,” based on “well-controlled investigations” or other “valid scientific

evidence” that the agency deems sufficient. 21 U.S.C. § 387j(c)(2), (4), (5).

      Petitioner seeks to market

                                                              After FDA

denied petitioner’s marketing application, concluding that petitioner had

not met this statutory standard, petitioner sought internal FDA review of

the marketing denial order. That administrative review is ongoing, and a

decision is expected by the end of December. To prevent “wasted judicial

effort,” this Court generally does not allow parties to “simultaneously seek

both agency reconsideration and judicial review of an agency’s order.”
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Wade v. FCC, 986 F.2d 1433, 1433–34 (D.C. Cir. 1993) (per curiam). The

Court should require that any administrative review sought by petitioner

be complete before the commencement of judicial review.

      If not deemed premature, the petition should be denied on the

merits. FDA reasonably concluded that, for
                                              ■ independent reasons,
petitioner failed to satisfy its statutory burden with respect to

                                , and that petitioner failed to satisfy its

burden with respect to                          for these same
                                                                 ■ reasons
plus a
         -   reason. FDA determined that petitioner failed to submit key

evidence about, among other things,




                                                                         .

Without that information, FDA could not fully assess the risks of these

products as needed to determine that their marketing would be

appropriate for the protection of the public health.

      There is no merit to the arguments that FDA’s denial of petitioner’s

application violated the Tobacco Control Act, deprived petitioner of fair

notice of the applicable evidentiary standard, or was otherwise arbitrary
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and capricious. While FDA has broad authority to promulgate new tobacco

regulations through rulemaking, that authority does not relieve FDA of its

separate statutory obligation to adjudicate applications for marketing

authorization and to deny any applications that fail to meet the statutory

public-health standard, as FDA did here. 21 U.S.C. § 387j(c). “FDA was not

required to consider alternative regulatory approaches before denying the

manufacturers’ applications for premarket approval.” Prohibition Juice Co. v.

FDA, 45 F.4th 8, 26 (D.C. Cir. 2022). In addition, petitioner had ample notice

of the applicable evidentiary standard, which is set forth in the statute

itself, and FDA provided further notice of the evidence needed in a 2019

guidance document and in a letter to petitioner specifically identifying the

deficiencies in the application. Cf. id. at 24 (“There was nothing new about

the FDA’s review of the manufacturers’ applications that deprived them of

fair warning.”).

                     STATEMENT OF JURISDICTION

      FDA issued an order on April 8, 2022, denying petitioner’s

applications to market certain new tobacco products. AR-000112–25.

Petitioner filed a timely petition for review on May 6, 2022. This Court has

jurisdiction under 21 U.S.C. § 387l(a)(1)(B).
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                        STATEMENT OF THE ISSUES

      1.     Whether the petition for review of the marketing denial order is

premature in light of petitioner’s pending request for internal FDA review

of that order.

      2.     Whether FDA properly denied petitioner’s applications for

authorization to market certain e-cigarette products because petitioner

failed to submit
                   ■ — and, for some products, ■ — key pieces of
evidence about the products and thus failed to demonstrate that marketing

the products would be appropriate for the protection of the public health.

                         STATEMENT OF THE CASE

      I.     Statutory Background

      The Family Smoking Prevention and Tobacco Control Act established

a comprehensive scheme for the regulation of tobacco products. Pub. L.

No. 111-31, div. A, 123 Stat. 1776 (2009). The Act applies to products such

as cigarettes and smokeless tobacco, as well as to other products made or

derived from tobacco that FDA by regulation deems to be subject to the

Act. 21 U.S.C. § 387a; see also id. § 321(rr)(1); Consolidated Appropriations

Act, 2022, Pub. L. No. 117-103, div. P, tit. I, subtitle B, § 111, 136 Stat. 49,



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789–90 (expanding Act’s definition of “tobacco product” to include

products made with synthetic nicotine).

      The Tobacco Control Act provision at issue here makes it unlawful

for a manufacturer to introduce in interstate commerce any “new tobacco

product” unless the manufacturer obtains premarket authorization from

FDA. 21 U.S.C. § 387j(a)(1)–(2). The statute defines a “new tobacco

product” as one that was not commercially marketed in the United States

as of February 15, 2007, or that was modified after that date. Id. § 387j(a)(1).

      The Act provides that FDA “shall deny” a manufacturer’s application

to market a new tobacco product “if, upon the basis of the information

submitted to [FDA] as part of the application and any other information

before [FDA] with respect to such tobacco product,” the agency “finds

that[] . . . there is a lack of a showing that permitting such tobacco product

to be marketed would be appropriate for the protection of the public

health.” 21 U.S.C. § 387j(c)(2). The Act specifies that, in making that

determination, FDA must evaluate “the risks and benefits to the population

as a whole, including users and nonusers of the tobacco product,” taking

into account both the “likelihood that existing users of tobacco products

will stop using such products” and the “likelihood that those who do not
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use tobacco products will start.” Id. § 387j(c)(4). Because “[v]irtually all new

users of tobacco products are under the minimum legal age to purchase

such products,” Tobacco Control Act § 2(4), 123 Stat. at 1777, FDA weighs

(among other things) the risk that a new tobacco product will promote

youth initiation and use against the product’s potential for helping adults

who smoke combustible cigarettes switch to a less dangerous alternative.

To obtain marketing authorization, an applicant must demonstrate a net

benefit to public health taking such risks and benefits into account. 1

      II.   Regulatory Background

      1. E-cigarettes deliver nicotine, which is “among the most addictive

substances used by humans,” “by vaporizing a liquid that includes other

chemicals and flavorings.” Nicopure Labs, LLC v. FDA, 944 F.3d 267, 270

(D.C. Cir. 2019). “The device heats the liquid until it generates an aerosol —

or ‘vapor’ — that can be inhaled.” Id.




      1 The Tobacco Control Act provides a separate premarket

authorization pathway for tobacco products that are substantially
equivalent to products that were commercially marketed in the United
States as of February 15, 2007. 21 U.S.C. § 387j(a)(2)(A)(i)(I). That pathway
is not at issue here.

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      In 2016, FDA exercised its statutory authority to deem e-cigarettes

and other products made or derived from tobacco to be subject to the

Tobacco Control Act’s requirements. 81 Fed. Reg. 28,974 (May 10, 2016).

Most e-cigarettes were not on the market as of February 15, 2007, and thus

meet the Act’s definition of a “new tobacco product” and became unlawful

to market without FDA authorization after the rule’s August 8, 2016

effective date. See Big Time Vapes, Inc. v. FDA, 963 F.3d 436, 440 (5th Cir.

2020), cert. denied, 141 S. Ct. 2746 (2021). As a policy matter, however, FDA

decided against immediate enforcement of that statutory prohibition for

products already on the market as of the rule’s effective date. 81 Fed. Reg.

at 28,977–78; see id. at 29,011 n.13.

      Through enforcement policies that FDA has revised over time, the

agency has sought to strike a balance between the serious risk that

e-cigarettes pose to youth and their potential benefit in helping adults quit

or significantly reduce smoking combustible cigarettes. FDA has

“repeatedly emphasized that the availability of non-combustible options

should not come at the expense of addicting a generation of children to

nicotine through these same delivery vehicles.” FDA, Enforcement Priorities

for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed Products on
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the Market Without Premarket Authorization (Revised): Guidance for Industry 38

(Apr. 2020), https://perma.cc/V5KV-RQWN (2020 Guidance).

      2. Initially, FDA announced that, for e-cigarettes already on the

market as of the 2016 rule’s effective date, the agency generally would not

take enforcement action based on a product’s lack of premarket

authorization for a two- to three-year period while manufacturers

prepared, and FDA reviewed, marketing applications. 81 Fed. Reg. at

28,978. In 2017 guidance, FDA extended that period until 2022. See 2020

Guidance 5. Before that announcement, “nationally representative data

suggested that youth use of e-cigarettes had declined beginning in 2016.”

Id.

      By late 2017, however, FDA began to see an alarming increase in the

use of e-cigarettes by middle and high school students. 2020 Guidance 6.

FDA therefore stepped up enforcement actions against products marketed

to youth and against retailers that sold e-cigarettes to minors, id. at 6–7, and

the agency sent letters directing manufacturers with significant market

share to submit plans to help restrict minors’ access to e-cigarettes, id. at 7.

In response, manufacturers proposed safeguards such as age-verification

technology for online sales, enhanced monitoring of retailer compliance
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with age-verification and sales restrictions, contractual penalties for

retailers that failed to comply with such requirements, and limits on the

quantity of e-cigarettes that a customer could purchase within a particular

period. Id.

      Nonetheless, in 2019, youth e-cigarette use hit the highest levels ever

recorded. 2020 Guidance 8. FDA thus revised its enforcement policy.

Although FDA continued to enforce sales restrictions, it concluded that

“age verification alone is not sufficient to address this issue, given the most

recent data that youth use of [e-cigarette] products continues to increase.”

Id. at 44. “The reality,” FDA explained, “is that youth have continued

access to [e-cigarette] products in the face of legal prohibitions and even

after voluntary actions by some manufacturers.” Id. In part because many

youth obtain their e-cigarettes from friends or other sources in their social

networks, id. at 45, FDA determined that sales restrictions alone would

“not be sufficient to address youth use of these products,” id. at 44.

      Accordingly, FDA’s 2020 guidance outlined an enforcement policy

that prioritized action against the types of products that were, at that time,

especially popular among youth: flavored, cartridge-based e-cigarettes



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(other than tobacco-flavored or menthol-flavored products).2 2020

Guidance 10. FDA emphasized the “extraordinary popularity” of flavored

e-cigarettes among youth, id. at 13, noting that 93% of e-cigarette users

aged 12–17 reported that their first e-cigarette was a flavored product, and

that 71% of youth users indicated they used e-cigarettes “because they

come in flavors I like,” id. at 14. FDA also explained that the leading

e-cigarette brand at that time (JUUL) was a cartridge-based product that

commanded 70% of the market, and that features of cartridge-based

products made them especially easy to use and conceal, and thus

particularly attractive to youth. Id. at 15–16. FDA also made clear that it

“make[s] enforcement decisions on a case-by-case basis” and that it

“retains discretion to pursue enforcement action at any time against any

deemed new tobacco product marketed without premarket authorization.”

Id. at 11.

       Although the 2020 enforcement policy led to the removal of many

flavored products from the market and was followed by a decline in youth




       2 In this brief, “flavored” e-cigarette products refer to products with

flavors other than tobacco.

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use, use of e-cigarettes by children and adolescents has remained at levels

comparable to those that originally led FDA to declare a youth vaping

epidemic. See AR-002936–38. After the market exit of flavored, cartridge-

based e-cigarettes, there was a substantial rise in youth use of disposable

e-cigarettes which had largely been excluded from the 2020 enforcement

policy because, at the time that policy was developed, those products were

not commonly used by youth. See AR-002938. As FDA recognized, “
                                                                       -
                                .” AR-002938.

      3. Shortly before September 9, 2020, FDA received a large volume of

applications to market e-cigarette products. The influx resulted in part

from a court-ordered deadline in an action brought by public-health

organizations. See American Acad. of Pediatrics v. FDA, 399 F. Supp. 3d 479

(D. Md. 2019), appeal dismissed sub nom. In re Cigar Ass’n of Am., 812 F.

App’x 128 (4th Cir. 2020) (per curiam). That court observed that, “however

laudable the FDA’s intended regulatory response is, the record before me

shows a purposeful avoidance by the industry of complying with the
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premarket requirements despite entreaties from the FDA.” Id. at 485. The

court thus directed FDA to require manufacturers to submit applications

for premarket authorization within 10 months of its order — a date later

extended to September 9, 2020, due to the pandemic — and provided that

“[p]roducts for which applications ha[d] been timely filed [could] remain

on the market without being subject to FDA enforcement actions” for up to

a year. Id. at 487.

      FDA has acted on many of those applications and has granted

applications for tobacco-flavored e-cigarette products when manufacturers

have demonstrated that marketing the products would be appropriate for

the protection of the public health. See, e.g., FDA, Technical Project Lead

Review for Applications Submitted by R.J. Reynolds Vapor Company (Oct. 12,

2021), https://perma.cc/7Z8E-FW6T.

      In contrast to tobacco-flavored e-cigarettes, FDA has explained that




                       . See, e.g., AR-000115–16, AR-002912, AR-002915, AR-

002936–39. “The distinct public health hazards of flavored tobacco

products, especially to young people, are extensively documented.”
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Prohibition Juice Co. v. FDA, 45 F.4th 8, 19 (D.C. Cir. 2022). Thus, for FDA to

find that the marketing of such products is appropriate for the protection of

the public health, applications to market flavored products face a greater

burden to show that this significant risk to youth is outweighed by likely

benefits to existing users of tobacco products “                     ” to

“                                             .” AR-002912. “



                            ” to support the finding of a net positive effect.

AR-002936; see AR-002912, AR-002940 n.18; see also Prohibition Juice, 45 F.4th

at 19–20. Some manufacturers submitted evidence of a type that could

potentially support such a finding for their flavored products, and those

applications remain under agency review. See, e.g., Motion for Voluntary

Dismissal, Turning Point Brands, Inc. v. FDA, No. 21-3855 (6th Cir. Oct. 8,

2021), Dkt. No. 19 (noting FDA’s agreement to reconsider applications

when it overlooked such evidence). FDA has denied applications to market

e-cigarette products where manufacturers failed to submit evidence that

satisfies the statutorily required showing.




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      III.   FDA’s Denial of Petitioner’s Applications to Market
             E-Cigarette Products

      Petitioner applied to market   I e-cigarette products in April 2020.
AR-002916. These products include

                                        . AR-002916. Each of these products

is a new tobacco product within the meaning of the Tobacco Control Act

and thus subject to the Act’s premarket authorization requirement.

      After sending petitioner a letter identifying the specific evidentiary

deficiencies in its application and providing an opportunity to cure those

deficiencies,3 AR-000095–111, FDA weighed the evidence regarding the

potential “risks and benefits to the population as a whole,” 21 U.S.C.



      3 FDA has no longstanding policy of issuing more than one deficiency

letter. While the agency had “on average issue[d] two deficiency letters”
early in the premarket review process when the agency had less experience
with tobacco applications, 86 Fed. Reg. 55,300, 55,403 (Oct. 5, 2021), FDA
has denied applications from hundreds of other manufacturers without
issuing a deficiency letter. The deficiency letter here notified petitioner that
FDA “                                                                   ”
petitioner’s application. AR-000095. Petitioner also had the same
opportunity as prior applicants to submit an unlimited number of
amendments to remedy deficiencies in its application. Cf. 21 C.F.R.
§ 1114.9(a) (final rule confirming FDA’s practice of allowing manufacturers
to amend applications, with no limit on the number of amendments
permitted). Petitioner elected to submit an amendment here. See AR-
000125, Response to Deficiency Letter.

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§ 387j(c)(4), and concluded that petitioner had not met its burden of

demonstrating that the marketing of its products was appropriate for the

protection of the public health, AR-000112–25. FDA’s conclusion with

respect to petitioner’s                                                         was

based on
           ■ independent grounds. AR-000113–17, AR-002913–16, AR-
002951–54. FDA’s conclusion with respect to petitioner’s

                                                                 was based on

these same
             ■ grounds plus                     ground. AR-000113–17, AR-

002913–16, AR-002951–54.

             A.   Lack of


     -       FDA found that




                                              . AR-000113–14, AR-002913–14,

AR-002919, AR-002954–55. As FDA explained, evidence shows that
                                                                            -
                                                                      . 4 AR-000113,



      4 A “harmful and potentially harmful constituent” is “any chemical

or chemical compound in a tobacco product or in tobacco smoke that: (a) is,
                                        15
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AR-002914, AR-002954. FDA explained that



                                        . AR-000113, AR-002954. FDA

concluded that, “



                                                          .” AR-002951–52; see

also AR-002914, AR-002925.

            B.      Lack of information about


     -
information about
                 FDA found that petitioner’s application lacked key




                                        . AR-000114, AR-002914, AR-002924–

25, AR-002952. FDA explained that petitioner had not




or potentially is, inhaled, ingested, or absorbed into the body, including as
an aerosol (vapor) or any other emission; and (b) causes or has the potential
to cause direct or indirect harm to users or non-users of tobacco products.”
FDA, “Harmful and Potentially Harmful Constituents” in Tobacco Products as
Used in Section 904(e) of the Federal Food, Drug, and Cosmetic Act: Guidance for
Industry and FDA Staff (Revised) 2 (Aug. 2016), https://perma.cc/HA3H-
QXVQ.

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                               . AR-000114, AR-002952. As FDA explained,

evidence shows that

                                                . AR-000114, AR-002924–25.

FDA also explained that petitioner had not




                     . AR-000114, AR-002924, AR-002952. As FDA explained,

evidence shows that



                           . AR-000114, AR-002924, AR-002952. FDA

concluded that, “



                                                                         .” AR-

002952; see also AR-002914, AR-002925.

           C.       Lack of information about


     -      FDA found that petitioner’s application lacked important

information about                                         . AR-000114, AR-

002914, AR-002920, AR-002926, AR-002952. This information includes
                                                                         -
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                                                                  . AR-

000114, AR-002920. As FDA explained, this information is necessary to



                                     . AR-002952. FDA concluded that,

“



                                                       ” AR-002952; see

also AR-002914.

           D.     Lack of adequate


      -      FDA found that petitioner’s application lacked
                                                              -
    . AR-000115, AR-002914, AR-002922, AR-002926, AR-002952. As FDA
■
explained, evidence shows that



                                 . AR-000115, AR-002926.




                                     18
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                                                  . AR-000115, AR-002914,

AR-002922, AR-002952. FDA also explained that




                     . AR-000115, AR-002922, AR-002926. FDA concluded

that, “

                                                                               .”

AR-002952; see also AR-002914, AR-002922, AR-002926.

            E.    Lack of adequate information in


      -     FDA found that




                                        . 5 AR-000116–17, AR-002916, AR-

002919–21, AR-002923, AR-002925, AR-002953. This information included



      5 Master files allow an applicant to rely on trade secrets or

confidential commercial information from another party, like a supplier, to
support an application without seeing the information. For background on
master files, see FDA, Submit and Reference Tobacco Product Master Files
(June 2020), https://perma.cc/F357-TT25.

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                    . AR-00116, AR-002919, AR-002921, AR-002925. FDA

concluded that, '




                                                                   ." AR-

002953; see also AR-002916, AR-002925.

            F.


      In addition to these ■ grounds on which FDA denied petitioner's

application to market all of petitioner's e-cigarette products, FDA's denial

of petitioner's application to market                       was also based

on a - ground. AR-000115-16, AR-002915-16, AR-002932, AR-002935-

43, AR-002952-53, AR-002957-58.

      FDA determined that




             . AR-000115-16, AR-002915, AR-002932, AR-002936-39, AR-

002952, AR-002957. FDA also reiterated its determination from the 2020

guidance that '

                                        20
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                                       ” meet the statutory standard. AR-

000116 n.3, AR-002915 n.6, AR-002942, AR-002953 n.21, AR-002957 n.23.

      FDA then considered whether




                                  . AR-000116, AR-002915, AR-002939–41,

AR-002953, AR-002957. In particular, the agency




                                            . AR-000116, AR-002915, AR-

002932, AR-002939–41, AR-002952–53, AR-002957; see Prohibition Juice, 45

F.4th at 19 (approving FDA’s determination, in the context of another

marketing denial order, that “if [a] new product carried greater risks but no

overmatching greater benefits” compared to another product, then

“authorizing [the new product] would not on balance serve public

health”).



                                     21
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        In its application to market                   , petitioner relied on   I



                                                            . Br. 47–48; see also

AR-002931. Petitioner also relied on




                      . Deficiency Resp. 19, at 2, 6. In addition, petitioner

cited

                               . AR-000116, AR-002932.

        FDA concluded that




               . AR-000116, AR-002915, AR-002931–32, AR-002941. FDA

determined that



                                       22
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                                                               . AR-000116,

AR-002915, AR-002931, AR-002941. FDA also determined that




                      .” AR-002915; see also AR-002931.

      FDA determined that                                           was not

sufficient to show that



                                                                       . FDA

determined that



                                                  .” AR-002941; see

Prohibition Juice, 45 F.4th at 21–22 (noting FDA’s findings about cross-

sectional surveys and their inability to reliably assess behavior change over

time). FDA also determined that petitioner “

                                                           , AR-002931, and

that, in any event,



                                               ,” AR-002931.
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      While petitioner cited




                                       . AR-002931–32. Based on this

review, FDA concluded that “

                                                                    .” AR-000116.

      FDA concluded that, “




                     .” AR-002916; see also AR-002953.

      IV.   Petitioner’s Administrative Appeal of the Marketing Denial
            Order

      After filing this petition for review of the marketing denial order,

petitioner submitted a request for FDA supervisory review of the

marketing denial order on June 6, 2022. See 21 C.F.R. § 10.75. FDA accepted

petitioner’s request for supervisory review, which remains pending before


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the agency. FDA expects to resolve the request for supervisory review by

December 31, 2022.

      V.    This Court’s Denial of Petitioner’s Emergency Stay Motion

      Petitioner sought an emergency stay of the marketing denial order

from this Court. A motions panel denied the stay, concluding that

petitioner had not “made a strong showing that it is likely to succeed on

the merits.” Fontem US, LLC v. FDA, No. 22-1076, 2022 WL 2761393, at *1

(D.C. Cir. July 12, 2022) (per curiam). Citing “record evidence indicating

that [FDA] likely found each of the grounds for the marketing denial order

independently sufficient to support its decision,” the motions panel

explained that it could “sustain the decision as long as one is valid and the

agency would clearly have acted on that ground even if the other[s] were

unavailable.” Id. (second brackets in original) (quoting Casino Airlines, Inc.

v. National Transp. Safety Bd., 439 F.3d 715, 717 (D.C. Cir. 2006)). The

motions panel determined that FDA had “likely afforded [petitioner] fair

notice” “[a]s to multiple bases for the marketing denial order.” Id.

                       SUMMARY OF ARGUMENT

      I. Petitioner’s pending request for FDA supervisory review of the

marketing denial order renders this petition for judicial review of that same

                                       25
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order premature. “If a party determines to seek reconsideration of an

agency ruling,” this Court has held that “it is a pointless waste of judicial

energy for the court to process any petition for review before the agency

has acted on the request for reconsideration.” TeleSTAR, Inc. v. FCC, 888

F.2d 132, 134 (D.C. Cir. 1989) (per curiam). The Court should therefore

require that the administrative review sought by petitioner be complete

before the commencement of judicial review.

      II. If the petition is not deemed premature, it should be denied on

the merits. Notwithstanding FDA’s 2019 guidance about the contents of

tobacco marketing applications and FDA’s letter notifying petitioner of the

specific evidentiary deficiencies in its application, petitioner failed to

provide important information about

                                                 . This information included:




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                              . FDA reasonably determined that, without each

of these pieces of evidence, the agency could not find that allowing

petitioner to market its e-cigarette products would be appropriate for the

protection of the public health.

      Contrary to petitioner’s contention, FDA’s conclusion in this respect

does not implicate the Tobacco Control Act’s provisions governing the

promulgation of “tobacco product standards” or manufacturing

requirements. Nothing in those separate provisions relieves FDA of the

responsibility to consider the risks of tobacco products when reviewing a

manufacturer’s application to market a new tobacco product pursuant to

§ 387j(c). Nor was there any unfair surprise about the evidentiary standard

that, when unmet, led FDA to deny petitioner’s application. Petitioner had

ample notice of the standard from FDA’s letter to petitioner identifying the

specific deficiencies in the application, the 2019 guidance document, and

the statute itself.

      III. Even if there were an error in any of the grounds on which FDA

denied petitioner’s application, the error would be harmless. Each of the

     — or, for petitioner’s                   ,       — grounds was an
■                                                 ■
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independently sufficient reason for the denial as to those products, as the

motions panel correctly concluded in denying the emergency stay motion.

Fontem US, LLC v. FDA, No. 22-1076, 2022 WL 2761393, at *1 (D.C. Cir. July

12, 2022) (per curiam). Thus, absent a showing that all of FDA’s grounds

for denying authorization for a particular product were unlawful, any error

was harmless.

                         STANDARD OF REVIEW

      FDA’s denial of an application to market a new tobacco product is

reviewed under the familiar, deferential standards established by the

Administrative Procedure Act and may be held unlawful and set aside

only if “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2); see 21 U.S.C. § 387l(b)

(incorporating this standard). Review under that standard “is narrow and a

court is not to substitute its judgment for that of the agency.” Motor Vehicle

Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).




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                                ARGUMENT

      I.    Petitioner’s Pending Administrative Appeal Renders This
            Petition Premature

      Petitioner has filed a request for FDA supervisory review of the

marketing denial order, see 21 C.F.R. § 10.75, and has raised many of the

same arguments it raises here. FDA has accepted the request for

supervisory review, which is ongoing, and expects to resolve the

supervisory review request by December 31, 2022.6 To conserve judicial

resources, this Court should require that the administrative review sought

by petitioner be complete before the commencement of judicial review.

      “It is well established that a party may not simultaneously seek both

agency reconsideration and judicial review of an agency’s order[] . . . .”

Wade v. FCC, 986 F.2d 1433, 1433 (D.C. Cir. 1993) (per curiam). A “pending

petition for administrative reconsideration renders the underlying agency

action nonfinal, and hence unreviewable.” TeleSTAR, Inc. v. FCC, 888 F.2d

132, 133 (D.C. Cir. 1989) (per curiam) (quoting United Transp. Union v.

Interstate Commerce Comm’n, 871 F.2d 1114, 1114 (D.C. Cir. 1989)). The aim



      6 A decision on a request for supervisory review under 21 C.F.R.

§ 10.75 may be appealed to the FDA Commissioner.

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of this rule is to prevent “wasted judicial effort,” Wade, 986 F.2d at 1434,

given the “possibility that the order complained of will be modified in a

way which renders judicial review unnecessary,” Stone v. Immigration &

Naturalization Serv., 514 U.S. 386, 392 (1995) (quoting Outland v. Civil

Aeronautics Bd., 284 F.2d 224, 227 (D.C. Cir. 1960)); accord Friends of Earth v.

U.S. Nuclear Regulatory Comm’n, 851 F. App’x 212, 214 (D.C. Cir. 2021) (per

curiam). Here, for example, given the significant overlap between the

arguments that petitioner makes here and those made in its request for

further administrative review, the outcome of that administrative review

could potentially change the legal issues presented to the Court, either by

obviating the need for their consideration or altering their contours.

Judicial review of the agency’s decision before that further administrative

determination would be inefficient. Because this risk of wasted judicial

effort “arises whether a party seeks agency reconsideration before,

simultaneous with, or after filing an appeal or petition for judicial review,”

the Court applies the rule “regardless of the order of filing.” Wade, 986 F.2d

at 1434.

      To “discourage the filing of petitions for review until after the agency

completes the reconsideration process,” this Court employs a “bright line
                                       30
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test" under w hich such petitions are treated as " incurably premature" ev en

if there is "subsequent action by the agency on a motion for

reconsideration" w hile the petition is pending. TeleSTAR, 888 F.2d at 134.

Review by the Court is then proper, if timely sought, once the

administrative process concludes and the order becomes final. Id.

      If the Court w ere to reach the merits, howev er, the petition for review

should be denied for the reasons set out below.

      II.   FDA Reasonably Concluded That Petitioner Failed to Show
            That Marketing Its E-Cigarette Products Would Be
            Appropriate for the Protection of the Public Health

      For ■      -   and, for petitioner's                 , -
                                                             ■        independent

reasons, FDA reasonably concluded that petitioner failed to show that

marketing its e-cigarette products would be appropriate for the protection

of the public health. There is no merit to petitioner's contentions that FDA

denied petitioner fair n otice, violated the statute, acted arbitrarily and

capriciously, or erred prejudicially.

            A.       FDA reasonabl determined that


     -      FDA explained that




                                             31
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AR-000113, AR-002954. As FDA explained, evidence show s that-




                                         . AR-000113, AR-002914, AR-002954.

      Petitioner focuses on its products'




                 - and contends that no                  is required by statute

or regulation. Br. 31-32. Contrary to petitioner's contention, however,

FDA' s determination was based not on

                                 , but instead on the lack of evidence of ■




                           .7   AR-002951-52. Without su ch evidence, FDA

could not fully assess the risks presented by these products and could not




      7   While etitioner contends that FDA' s request for
                                         was " nonsensical[]" because
                                                                                  I

Br. 31-
Withn




                                         32
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conclude that the risks were sufficiently low as to make their marketing

appropriate for the protection of the public health.

      For the same reason, petitioner is wrong to assert that FDA treated its

e-cigarette products differently than a competitor’s product that

                                             yet received marketing
                                                                    -
authorization. Br. 33–34. Unlike the competitor’s product, petitioner’s

products                                                                    ,

and petitioner did not

                                     . AR-002924–25. While petitioner

speculates that the competitor

                             , petitioner provides no factual basis for that

speculation. Br. 33. The competitor’s application was not part of “the full

administrative record that was before the [agency] at the time [it] made

[its] decision” on petitioner’s application, and thus it is not properly

considered here.8 See Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402,




      8 Petitioner has raised this differential treatment argument in its

pending request for internal FDA review. FDA’s determination of that
request may sharpen the record for judicial review on this issue, which
further shows why this Court should require that the administrative
                                      33
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420 (1971). Regardless, while FDA cannot discuss here the specifics of the

competitor’s application, which is confidential, there is no substance to

petitioner’s speculation, and FDA will make the competitor’s materials

available to the Court in camera if the Court so requests.

      Petitioner ultimately acknowledges that — unlike the competitor —         I
                                                                    but contends

that FDA never requested
                           - -        . Br. 31–32. Contrary to petitioner’s

contention, FDA’s deficiency letter asked petitioner to



                                                             . AR-000096, AR-

000101–02. FDA’s 2019 guidance also indicated that




                                                              .” FDA,

Premarket Tobacco Product Applications for Electronic Nicotine Delivery




review sought by petitioner be complete before the commencement of
judicial review. See supra Section I.

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Systems: Guidance for Industry   I (June 2019), https://perma.cc/YTD3-
DF3Z (2019 Guidance) (announced at 84 Fed. Reg. 27,200 (June 12, 2019));

see also Howmet Corp. v. EPA, 614 F.3d 544, 554 (D.C. Cir. 2010) (explaining

that published agency guidance can provide fair notice). That

would naturally include
                                                                    -         .

      In addition to FDA’s deficiency letter and 2019 guidance, the Tobacco

Control Act itself gave petitioner notice of the evidentiary burden that

applicants must carry. “It was Congress, not the FDA, that imposed . . . on

new tobacco products, including e-cigarettes,” the “requirement that each

new tobacco product’s risks not outweigh its benefits to the public health.”

Nicopure Labs, LLC v. FDA, 944 F.3d 267, 281 (D.C. Cir. 2019). The Tobacco

Control Act itself requires FDA to deny an application unless the

manufacturer demonstrates that marketing its new product is “appropriate

for the protection of the public health,” considering “the risks and benefits

to the population as a whole.” 21 U.S.C. § 387j(c)(2), (4). And the Act directs

FDA to make that finding, “when appropriate,” based on “well-controlled

investigations” or other “valid scientific evidence” that the agency deems

sufficient. Id. § 387j(c)(5).



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      In arguing that FDA failed to provide fair notice, petitioner relies on

inapposite case law (Br. 28–29), in which an agency took action contrary to

a longstanding interpretation without giving the regulated party an

opportunity to comply with the new interpretation. See Christopher v.

SmithKline Beecham Corp., 567 U.S. 142, 155–58 (2012) (agency interpreted

ambiguous regulations to impose “potentially massive liability” for a

“longstanding” practice that agency had never suggested was unlawful

and that occurred well before interpretation was announced); Salzer v. FCC,

778 F.2d 869, 875 (D.C. Cir. 1985) (agency dismissed application without

consideration of merits based on interpretation of a rule that was contrary

to both the rule’s “clearly reasonable interpretation” and the agency’s prior

“mandate”). Here, as explained above, FDA’s denial of petitioner’s

application was consistent with its 2019 guidance, its deficiency letter to

petitioner, and the statute itself. Cf. Prohibition Juice Co. v. FDA, 45 F.4th 8,

21, 24 (D.C. Cir. 2022) (finding that the “2019 Guidance gave fair notice of

the analysis the agency would perform” and that “FDA’s final

determinations were consistent with the 2019 Guidance, undercutting [the

manufacturers’ notice] claim”).



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      Finally, petitioner asserts that                                     should

hav e been sufficient because the data was generated under conditions that

w ent beyond how petitioner expects consumers to u se its e-cigarette

products . Br. 31. But this assertion is based on




                                                                 , id. (quoting

Deficiency Resp . 2, at 2), not the ,.    ,, that FDA requested when giving

petitioner an opportunity to cure the deficiency, AR-000096, AR-000101-02,

and FDA reasonably determined that petitioner's evidence w as insufficient

to make the statutorily required show ing. That determination, b ased on

FDA's " evaluation[] of scientific data within its area of expertise," " is

entitled to a ' high level of deference,"' Serano Labs., Inc. v. Shalala, 158 F.3d

1313, 1320 (D.C. Cir. 1998) (quoting A .L. Pharma, Inc. v. Shalala, 62 F.3d

1484, 1490 (D.C. Cir. 1995)), and petitioner has offered no basis to ov ercome

that deference.

             B.      FDA reasonabl determined that


      -           FDA explained that petitioner's application




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                                          . AR-000114, AR-002914, AR-002924–

25, AR-002952. The missing information included




                                                       . AR-000114, AR-

002952, AR-002924–25. The missing information also included




                                                                             . AR-

000114, AR-002924, AR-002952.

      Petitioner does not dispute that



                     but contends that FDA did not request this

information. Br. 37–38. Contrary to petitioner’s contention, FDA’s

deficiency letter asked petitioner to “

                     ,” including “                                  ” and



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                           I
                      If
                                                                   ." 9   AR-000096.

This data was necessary, the deficiency letter explained, to '

                                                 " and thus w hether their

marketing w ould be appropriate for the protection of the public health.

AR-000096.

      Petitioner is similarly wrong to assert that it lacked n otice of the need

for

                                                    . Br. 34-36. FDA's deficiency

letter asked petitioner to '




                               ." AR-000096. That request comports w ith FDA's

statement in its 2019 guidance that




                                                       ." 2019 Guidance l; see also




             ." AR-000096.

                                            39
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id.   atl (advising that

                                           ") . 10   When petitioner failed to

provide the required information concerning                                , FDA

reasonably concluded that petitioner had not provided full information

regarding the products' risks and therefore had not carried its burden of

satisfying the statutory public-health standard.

              C.   FDA reasonabl determined that



        -      FDA explained that petitioner's application




                                 · ·oner's su ggestion th




                                                 . AR-000114, AR-002924, AR-
002952.

                                      40
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AR-000114, AR-002914, AR-002920, AR-002926, AR-002952. As FDA

explained, this rudimentary information is necessary to
                                                           -
                                       . AR-002952.

      Petitioner does not dispute that

                                     but asserts that FDA did not request the

information. Br. 40–41. The requirement to submit this information,

however, comes from the Tobacco Control Act itself, which states that
                                                                            ■




- --    .” 21 U.S.C. § 387j       . FDA also advised petitioner of the need

to submit much of this information in the deficiency letter and the agency’s

2019 guidance. AR-000099 (requesting




include “
              ); 2019 Guidance
                                 -       (recommending that applications

                                                                     ”). Despite

having ample notice, petitioner failed to provide the required information,
                                      41
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and FDA reasonably concluded that petitioner had failed to satisfy the

statutory public-health standard.

      Notwithstanding petitioner’s assertion, Br. 41–42, this conclusion is

not contradicted by FDA’s statements about one of petitioner’s suppliers,


-   . The fact that petitioner provided some information about the supplier

that did not raise significant concerns says nothing about other information

that petitioner admittedly failed to provide.

      Petitioner is also wrong to contend that FDA could not consider
                                                                          ■
                                                                        in

reviewing a marketing application without first adopting a new

manufacturing requirement or a tobacco product standard through notice-

and-comment rulemaking. Br.
                         -  22–27,
                               -   28,-
                                      32, 38–40,
                                            -42–43.
                                                 - While Congress
gave FDA broad authority to promulgate new manufacturing requirements

and tobacco product standards through rulemaking, 21 U.S.C. §§ 387f(e),

387g, it also expressly directed FDA to adjudicate applications for

marketing authorization under § 387j and to deny any applications that are

deficient in any of four enumerated respects. Id. § 387j(c). Congress further

specified that, in adjudicating marketing applications, FDA is to consider a

panoply of information about product safety and manufacturing, including
                                     42
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“full reports of all information[] . . . concerning investigations which have

been made to show the health risks of [the new] tobacco product,” id.

§ 387j(b)(1)(A); “a full description of the methods used in, and the facilities

and controls used for, the manufacture[] . . . of” the product, id.

§ 387j(b)(1)(C); and “such other information relevant to the subject matter

of the application as [FDA] may require,” id. § 387j(b)(1)(G).

      The authority to adjudicate marketing applications and the authority

to promulgate new manufacturing requirements and tobacco product

standards through rulemaking are distinct sources of authority. And the

provisions governing marketing applications expressly put the onus on

manufacturers, not FDA, to establish the appropriateness of new products

before marketing — a burden that petitioner is trying to flip here by

invoking inapposite provisions. As directed by Congress, FDA considered

the methods, facilities, and controls associated with petitioner’s

manufacturing process. That information is relevant to assessing both the

adequacy of those processes and a product’s appropriateness for the

protection of public health. Petitioner failed to carry its burden of

demonstrating that these statutory standards were met, even after

receiving a deficiency letter outlining these issues. Petitioner’s attempt to
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now claim that the shortcoming here w as on the part of the agency runs

counter to the terms of the statute. Petitioner failed to adduce the evidence

required by Congress. And " FDA was n ot required to consider alternativ e

regulatory approaches before denying the manufacturers' application s for

premarket approval." Prohibition Juice, 45 F.4th at 26.

      Petitioner asserts that FDA failed to consider manufacturing

requirements and tobacco product standards separately from the public-

health standard and thus did not apply the correct sta tutory framework.

Br. 21, 28. Contrary to petitioner's assertion, in adjudicating petitioner's

application, FDA separately addressed each of the four statutory

requirements that applications must satisfy, including the public-health

standard, m anufacturing practices, labeling, and tobacco product

standards. 21 U.S.C. § 387j(c)(2); AR-002950-51.

            D.    FDA reasonabl determined that


     -        FDA explained that petitioner's application



                              . AR-000115, AR-002914, AR-002922, AR-

002926, AR-002952. As FDA explained, ev idence sh ows that


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                                                                         . AR-

000115, AR-002926.




                        . AR-000115, AR-002914, AR-002922, AR-002952.

FDA also explained that



                                                                                  .

AR-000115, AR-002922, AR-002926.

       Petitioner does not dispute that



              . Br. 42–47. Instead, petitioner asserts that FDA had indicated

that

                                                                   . Br. 43–44.

What the deficiency letter said, however, was that “




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               .” AR-000104 (emphases added). This request in the

deficiency letter mirrored FDA’s 2019 guidance, which advised that “
                                                                           ■



                 .” 2019 Guidance   I . Petitioner failed to provide the
-        evidence that FDA requested, and FDA reasonably concluded

that, in the absence of such evidence, petitioner had not satisfied the

statutory public-health standard.

      Petitioner contends that FDA’s request for

have been satisfied by petitioner’s claim that
                                                   -          evidence should




             .” Br. 44 (quoting Deficiency Resp. 13, at 13). But FDA

reasonably explained that, notwithstanding petitioner’s claim, the

“



               .” AR-002926. Petitioner submitted no evidence to dispel this
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concern and has offered no basis to overcome the considerable deference

given to FDA’s evaluation of evidence within its area of expertise. See

Serono Labs., 158 F.3d at 1320.

      As explained above, supra pp. 42–44, there is no merit to petitioner’s

contention that FDA could not consider the failure to provide this type of

key information in reviewing a marketing application without first

adopting a new manufacturing requirement or tobacco product standard

through notice-and-comment rulemaking. FDA explained how



-                                                                   -
         affects specific public health risks, which FDA is statutorily

required to consider when adjudicating marketing applications under the

public-health standard. AR-002922 (“




-      .”); 21 U.S.C. § 387j(c)(4). Indeed, petitioner apparently recognized

the relevance of this information when petitioner attempted to provide it

and thereby satisfy the statutory public-health standard in response to

FDA’s deficiency letter. Petitioner’s response purportedly provided

“
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                           ,” asserted that “

                                                                 ,” and

concluded that

                                     .” Deficiency Resp. 13, at 11, 13.

Petitioner essentially recognized the propriety of FDA’s consideration of

this information when deciding whether an application meets the statutory

public-health standard but fell short in producing the evidence to satisfy

that standard.

      Petitioner also acknowledges that



                                                       . Br. 46–47. Petitioner

asserts, however, that FDA did not request this                      . Id.

Contrary to petitioner’s assertion, FDA’s deficiency letter asked for “
                                                                             ■


                                           .” AR-000104. The need for this

information is also apparent from the Tobacco Control Act itself, which

says that FDA’s determination of whether a tobacco product is appropriate

for the protection of the public health “shall[] . . . be determined on the
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basis of w ell-controlled inv estigations" or other "valid scientific evidence."

21 U.S.C. § 387j(c)(5)(A)- (B). FDA's 2019 guidance advised t h a t -




            . 2019 Guidance              . When petitioner failed to provide

this required                 , FDA reasonably concluded that petitioner

had not satisfied the statutory public-health standard.

            E.    FDA reasonabl determined that



     -      FDA explained that petitioner's application relied o n .




AR-000116-17, AR-002916, AR-002919-21, AR-002923, AR-002925, AR-

002953. This information included




                                                        . AR-00116, AR-

002919, AR-002921, AR-002925.



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      Petitioner does not dispute that

                                                                           were

deficient or that those deficiencies were a proper basis for FDA’s denial of

its application. Br. 52–54. Instead, petitioner asserts that FDA did not

provide adequate notice of the deficiencies

                                            . Br. 53–54.

      Contrary to petitioner’s assertion, FDA’s November 2020 deficiency

letter notified petitioner that the agency had “



                                                                           .” AR-

000107. The letter explained that

                                    advised petitioner to

                                , and informed petitioner that



                        . AR-000107.

      In a simultaneous deficiency letter to                             , FDA

requested




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                         . AR-014716-A–17-A. When this information was not

provided, FDA reasonably concluded that

                                            remained deficient because it

lacked key information about




                                                                          .” AR-

014721-A.

      The issues with                       were not included in FDA’s

deficiency letter to petitioner because



                                                                    . Deficiency

Resp. 13, at 15. Because petitioner’s original application did not mention

                     , FDA initially had no reason to

                                                         and no reason to

include the deficiencies                    in the deficiency letter to

petitioner. See FDA, Tobacco Product Master Files: Guidance for Industry    I
                                      51
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(May 2016t https :/ / perma.cc/ Z7DC-VPBB (announced at 81 Fed. Reg.

28,778 (May 10, 2016)) ('




                                                                         .") .

      Without the required information

                        , FDA reasonably concluded that petitioner had not

carried its burden of satisfying the statutory public-health standard.

               F.   FDA reasonabl determined that




      FDA began its analysis of petitioner's application to m a r k e t -

                                                            by considering

the risks of                               . FDA reasonably determined that




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                             . AR-000115–16, AR-002915, AR-002932, AR-

002936–39, AR-002952, AR-002957; see Prohibition Juice, 45 F.4th at   I
(noting that “

                                                                      ”). FDA

also reasonably determined, based on its extensive experience, that



            . AR-000116 n.3, AR-002915 n.6, AR-002942, AR-002953 n.21,

AR-002957 n.23.

       FDA then explained that “




-       .” AR-002936; see also AR-002940 n.18, AR-002912. Thus,




                              . AR-000116, AR-002912. In light of the lower

risk

                              , see FDA, Premarket Tobacco Product Marketing

Granted Orders (June 10, 2022), https://perma.cc/FNU4-J2NJ, FDA looked

for evidence that



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                   , AR-002912–13, AR-002915. This Court has held that
                                                                            ■

■ .” Prohibition Juice, 45 F.4th at I .
      FDA determined that




                                               . FDA determined that




              . AR-002915, AR-002931. If anything, FDA explained, this

evidence showed that




-         . AR-000116, AR-002915, AR-002931, AR-002941. And while

petitioner cited




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                                                            ." AR-000116.

      Petitioner does not dispute




                                              . 11   Br. 47-52. Petitioner also

acknowledges that




                                                         . Br. 49 n.17. And

petitioner does not dispute




-          - Br. 47-52.

      Instead, petitioner asserts that FDA changed the relevant standard

during the adjudication process by requiring that '

                                                     ." Br. 49 (emphasis omitted).



      11Petitioner asserts that FDA '
                           ,"' Br. 48 (brackets in original) (quoting AR-
002832), but omits the second art of the ex lanation in the same
 ara a h that '




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Contrary to petitioner’s assertion, FDA applied the same


-       standard throughout the process. The Tobacco Control Act

provides that FDA’s public-health finding “shall be determined with

respect to the risks and benefits to the population as a whole, including


                                             ----
users and nonusers of the tobacco product.” 21 U.S.C. § 387j(c)(4).




                                 and “

                                                               . Prohibition

Juice, 45 F.4th at                             . When petitioner’s

application did not include adequate evidence in this regard, FDA’s

deficiency letter requested evidence “




                                .” AR-000107. And when petitioner did not

submit this evidence in response to the deficiency letter, FDA reasonably

determined that “




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                                                .” AR-000116. As this Court has

held, this kind of




-          .” Prohibition Juice, 45 F.4th at
                                               -    .

        Petitioner is wrong to assert that a footnote in the denial order

announced a new standard. Br. 48–49. There, FDA explained that

“




              ” meet the statutory standard. AR-000116 n.3. That statement is

a straightforward application of the principle that “



                               ,” AR-002936, which this Court has held “        I
                                                          ,” Prohibition Juice, 45 F.4th

at   I . Contrary to petitioner’s assertion, Br. 50, FDA has not suggested that
                              are necessary. But because




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                                                   . AR-000116, AR-002912.

      Nor is there merit to petitioner’s contention that this standard is

“lacking in definition.” Br. 50–51. The standard is set forth by statute,

which requires FDA to evaluate whether marketing the new product is

“appropriate for the protection of the public health,” taking into account

the “likelihood that existing users of tobacco products will stop using such

products” and the “likelihood that those who do not use tobacco products

will start.” 21 U.S.C. § 387j(c)(2), (4). FDA applies this standard in a

straightforward way by “




                                             .” Prohibition Juice, 45 F.4th at
                                                                                 ■
I.
      Petitioner suggests that this standard is unachievable because no

                      have been authorized to date. Br. 51–52. But many

marketing applications for                           remain pending, and FDA

continues to evaluate in each instance whether there is evidence

demonstrating that                          provides a net benefit to the public
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health notwithstanding                                    — consistent with

§ 387j(c).

      III.   FDA’s    Grounds for Denying Petitioner’s Application
                     ■
             Were Independent, and Thus Any Error in Any One Ground
             Was Harmless

      Even assuming there were merit to petitioner’s challenge to any one

of FDA’s
             -        independent grounds for denying its application, any

such error is harmless. The Tobacco Control Act makes marketing orders

subject to review “in accordance with chapter 7 of Title 5,” 21 U.S.C.

§ 387l(b), thus incorporating the Administrative Procedure Act’s rule of

harmless error, see 5 U.S.C. § 706 (instructing that “due account shall be

taken of the rule of prejudicial error” in conducting arbitrary-and-

capricious review).

      Because each of the grounds on which petitioner’s application was

denied was an independently sufficient reason for the denial as to those

products, as the motions panel correctly concluded in denying the

emergency stay motion, see Fontem US, LLC v. FDA, No. 22-1076, 2022 WL

2761393, at *1 (D.C. Cir. July 12, 2022) (per curiam), petitioner fails to

demonstrate that any harm flowed from any error in less than all of these

grounds. See Steel Mfrs. Ass’n v. EPA, 27 F.3d 642, 649 (D.C. Cir. 1994) (per

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curiam) (finding error harmless because agency had “adequate and

independent grounds for” its decision); see also Prohibition Juice, 45 F.4th at

19 (explaining that “the ‘burden of showing that an error is harmful

normally falls upon the party attacking the agency’s determination’” and

declining to set aside a marketing denial order where the petitioners had

failed to show that a purported error was prejudicial (quoting Shinseki v.

Sanders, 556 U.S. 396, 409 (2009))).

      In asserting that the grounds were not independent bases for the

denial, Br. 55–58, petitioner does not address or even acknowledge the

motions panel’s conclusion that the “record evidence indicat[es] that [FDA]

likely found each of the grounds for the marketing denial order

independently sufficient to support its decision,” Fontem, 2022 WL 2761393,

at *1. Petitioner’s assertion is also at odds with FDA’s explanation of its

decision. FDA identified each separate evidentiary shortcoming in

petitioner’s application and explained that “

evidence on that particular issue, “
                                              -          ” the requested



                                                           .” 12 AR-002952–53;


      12 Indeed, for one ground —



-    — FDA explained that petitioner’s failure to submit a subset of the
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accord AR-002914, AR-002916, AR-002922, AR-002925, AR-002926. This

conclusion is further supported by the denial order's explanation that each

separate piece of evidence that petitioner had failed to provide '-

                                    - not that petitioner could make a

stronger show ing on other issues to compensate for these deficiencies. AR-

000113-16.

        Notwithstanding these explanations in the record, petitioner

contends that each of the grounds identified in the denial order w as not

independently sufficient because the ultimate statutory standard is a

balancing test. Br. 56-57. But here, FDA explicitly stated that each

deficiency, standing alone, prevented the a gency from finding that

petitioner had satisfied the ultimate statutory standard - not that the




                                   - w as also harmless. See supra Section
II.D.

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deficiencies, considered together, outweighed the other information

provided by petitioner. AR-002914, AR-002916, AR-002922, AR-002925, AR-

002926, AR-002952–53.

      While petitioner emphasizes the denial order’s use of “

introduce the
                                                               -    ” to


             ■ numbered paragraphs listing the grounds for the denial,
Br. 57 (emphasis omitted) (quoting AR-000113), that word denotes only
                                                                      ■
                                               , without indicating whether

any aspects of that reasoning are independently sufficient grounds for the

decision. Here, the record evidence discussed above demonstrates that

FDA treated each ground as an independently sufficient reason for the

denial of petitioner’s application. Thus, absent a showing that all of FDA’s

grounds for denying authorization for a particular product were unlawful,

any error was harmless.




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                              CONCLUSION

      For the foregoing reasons, the petition for review should be

dismissed as premature or, in the alternative, denied.

                                            Respectfully submitted,

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October 2022




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     CERTIFICATE OF COMPLIANCE WITH FEDERAL RULES OF
            APPELLATE PROCEDURE 27(D) AND 32(A)

      I certify that this brief complies with the typeface and type-style

requirements of Federal Rules of Appellate Procedure 27(d)(1)(E), 32(a)(5),

and 32(a)(6) because it has been prepared in 14-point Book Antiqua, a

proportionally spaced typeface, using Microsoft Word.

      I further certify that this brief complies with the type-volume

limitation of Rule 27(d)(2)(A) because it contains 11,841 words, excluding

the parts of the document exempted under Rule 32(f), according to the

count of Microsoft Word.



 October 6, 2022                         s/ Garrett Coyle
                                          GARRETT COYLE
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                        CERTIFICATE OF SERVICE

      I certify that on October 7, 2022, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals for

the D.C. Circuit by using the appellate CM/ECF system. Participants in the

case are registered CM/ECF users, and service will be accomplished by the

appellate CM/ECF system.


                                          s/ Garrett Coyle
                                           GARRETT COYLE
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                             ADDENDUM
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5 U.S.C. § 706 – Scope of review.

To the extent necessary to decision and when presented, the reviewing
court shall decide all relevant questions of law, interpret constitutional and
statutory provisions, and determine the meaning or applicability of the
terms of an agency action. The reviewing court shall--

   (1) compel agency action unlawfully withheld or unreasonably delayed;
   and

   (2) hold unlawful and set aside agency action, findings, and conclusions
   found to be--

      (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
      accordance with law;

      (B) contrary to constitutional right, power, privilege, or immunity;

      (C) in excess of statutory jurisdiction, authority, or limitations, or
      short of statutory right;

      (D) without observance of procedure required by law;

      (E) unsupported by substantial evidence in a case subject to sections
      556 and 557 of this title or otherwise reviewed on the record of an
      agency hearing provided by statute; or

      (F) unwarranted by the facts to the extent that the facts are subject to
      trial de novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole
record or those parts of it cited by a party, and due account shall be taken
of the rule of prejudicial error.




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21 U.S.C. § 321 – Definitions; generally.

                               *     *      *

(rr)(1) The term “tobacco product” means any product made or derived
from tobacco, or containing nicotine from any source, that is intended for
human consumption, including any component, part, or accessory of a
tobacco product (except for raw materials other than tobacco used in
manufacturing a component, part, or accessory of a tobacco product).

                               *     *      *




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21 U.S.C. § 387a – FDA authority over tobacco products.

                                *     *     *

(b) Applicability

This subchapter shall apply to all cigarettes, cigarette tobacco, roll-your-
own tobacco, and smokeless tobacco and to any other tobacco products
that the Secretary by regulation deems to be subject to this subchapter. This
subchapter shall also apply to any tobacco product containing nicotine that
is not made or derived from tobacco.

                                *     *     *




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21 U.S.C. § 387j – Application for review of certain tobacco products.

(a) In general

   (1) New tobacco product defined

   For purposes of this section the term “new tobacco product” means--

      (A) any tobacco product (including those products in test markets)
      that was not commercially marketed in the United States as of
      February 15, 2007; or

      (B) any modification (including a change in design, any component,
      any part, or any constituent, including a smoke constituent, or in the
      content, delivery or form of nicotine, or any other additive or
      ingredient) of a tobacco product where the modified product was
      commercially marketed in the United States after February 15, 2007.

   (2) Premarket review required

      (A) New products

      An order under subsection (c)(1)(A)(i) for a new tobacco product is
      required unless--

         (i) the manufacturer has submitted a report under section 387e(j)
         of this title; and the Secretary has issued an order that the tobacco
         product--

            (I) is substantially equivalent to a tobacco product
            commercially marketed (other than for test marketing) in the
            United States as of February 15, 2007; and

            (II) is in compliance with the requirements of this chapter; or

         (ii) the tobacco product is exempt from the requirements of section
         387e(j) of this title pursuant to a regulation issued under section
         387e(j)(3) of this title.




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      (B) Application to certain post-February 15, 2007, products

      Subparagraph (A) shall not apply to a tobacco product--

         (i) that was first introduced or delivered for introduction into
         interstate commerce for commercial distribution in the United
         States after February 15, 2007, and prior to the date that is 21
         months after June 22, 2009; and

         (ii) for which a report was submitted under section 387e(j) of this
         title within such 21-month period,

      except that subparagraph (A) shall apply to the tobacco product if the
      Secretary issues an order that the tobacco product is not substantially
      equivalent.

                                *     *     *

(b) Application

   (1) Contents

   An application under this section shall contain--

      (A) full reports of all information, published or known to, or which
      should reasonably be known to, the applicant, concerning
      investigations which have been made to show the health risks of such
      tobacco product and whether such tobacco product presents less risk
      than other tobacco products;

      (B) a full statement of the components, ingredients, additives, and
      properties, and of the principle or principles of operation, of such
      tobacco product;

      (C) a full description of the methods used in, and the facilities and
      controls used for, the manufacture, processing, and, when relevant,
      packing and installation of, such tobacco product;

      (D) an identifying reference to any tobacco product standard under
      section 387g of this title which would be applicable to any aspect of

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      such tobacco product, and either adequate information to show that
      such aspect of such tobacco product fully meets such tobacco product
      standard or adequate information to justify any deviation from such
      standard;

      (E) such samples of such tobacco product and of components thereof
      as the Secretary may reasonably require;

      (F) specimens of the labeling proposed to be used for such tobacco
      product; and

      (G) such other information relevant to the subject matter of the
      application as the Secretary may require.

                                *     *     *

(c) Action on application

                                *     *     *

   (2) Denial of application

   The Secretary shall deny an application submitted under subsection (b)
   if, upon the basis of the information submitted to the Secretary as part of
   the application and any other information before the Secretary with
   respect to such tobacco product, the Secretary finds that--

      (A) there is a lack of a showing that permitting such tobacco product
      to be marketed would be appropriate for the protection of the public
      health;

      (B) the methods used in, or the facilities or controls used for, the
      manufacture, processing, or packing of such tobacco product do not
      conform to the requirements of section 387f(e) of this title;

      (C) based on a fair evaluation of all material facts, the proposed
      labeling is false or misleading in any particular; or

      (D) such tobacco product is not shown to conform in all respects to a
      tobacco product standard in effect under section 387g of this title, and

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      there is a lack of adequate information to justify the deviation from
      such standard.

                                   *    *     *

   (4) Basis for finding

   For purposes of this section, the finding as to whether the marketing of a
   tobacco product for which an application has been submitted is
   appropriate for the protection of the public health shall be determined
   with respect to the risks and benefits to the population as a whole,
   including users and nonusers of the tobacco product, and taking into
   account--

      (A) the increased or decreased likelihood that existing users of
      tobacco products will stop using such products; and

      (B) the increased or decreased likelihood that those who do not use
      tobacco products will start using such products.

   (5) Basis for action

      (A) Investigations

      For purposes of paragraph (2)(A), whether permitting a tobacco
      product to be marketed would be appropriate for the protection of
      the public health shall, when appropriate, be determined on the basis
      of well-controlled investigations, which may include 1 or more
      clinical investigations by experts qualified by training and experience
      to evaluate the tobacco product.

      (B) Other evidence

      If the Secretary determines that there exists valid scientific evidence
      (other than evidence derived from investigations described in
      subparagraph (A)) which is sufficient to evaluate the tobacco
      product, the Secretary may authorize that the determination for
      purposes of paragraph (2)(A) be made on the basis of such evidence.



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21 U.S.C. § 387l – Judicial review.

(a) Right to review

   (1) In general

   Not later than 30 days after--

      (A) the promulgation of a regulation under section 387g of this title
      establishing, amending, or revoking a tobacco product standard; or

      (B) a denial of an application under section 387j(c) of this title,

      any person adversely affected by such regulation or denial may file a
      petition for judicial review of such regulation or denial with the
      United States Court of Appeals for the District of Columbia or for the
      circuit in which such person resides or has their principal place of
      business.

                                 *      *     *

(b) Standard of review

Upon the filing of the petition under subsection (a) for judicial review of a
regulation or order, the court shall have jurisdiction to review the
regulation or order in accordance with chapter 7 of Title 5 and to grant
appropriate relief, including interim relief, as provided for in such chapter.
A regulation or denial described in subsection (a) shall be reviewed in
accordance with section 706(2)(A) of Title 5.

                                 *      *     *




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21 C.F.R. § 10.75 – Internal agency review of decisions.

(a) A decision of an FDA employee, other than the Commissioner, on a
matter, is subject to review by the employee’s supervisor under the
following circumstances:

   (1) At the request of the employee.

   (2) On the initiative of the supervisor.

   (3) At the request of an interested person outside the agency.

   (4) As required by delegations of authority.

(b)(1) The review will be made by consultation between the employee and
the supervisor or by review of the administrative file on the matter, or
both. The review will ordinarily follow the established agency channels of
supervision or review for that matter.

                                 *     *      *

(d) Internal agency review of a decision must be based on the information
in the administrative file. If an interested person presents new information
not in the file, the matter will be returned to the appropriate lower level in
the agency for reevaluation based on the new information.

                                 *     *      *




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21 C.F.R. § 1114.9 – Amendments.

(a) General. FDA may request, or an applicant may submit on its own
initiative, an amendment to a [premarket tobacco application] containing
information that is necessary for FDA [to] complete the review of a
pending [premarket tobacco application]. . . .

                               *    *     *




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DEPARTMENT OF HEALTH AND                    Products, Food and Drug                         B. Ingredient Listing and HPHC
HUMAN SERVICES                              Administration, 10903 New Hampshire                Requirements (Sections 904 and 915)
                                            Ave., Silver Spring, MD 20993, 877–             C. Registration and Product Listing
Food and Drug Administration                                                                   (Section 905)
                                            287–1373, AskCTP@fda.hhs.gov.
                                                                                            D. Tobacco Health Document Submissions
                                            SUPPLEMENTARY INFORMATION:                         (Section 904)
21 CFR Parts 1100, 1140, and 1143                                                           E. Office of Small Business Assistance
                                            Table of Contents
[Docket No. FDA–2014–N–0189]                                                              X. Regulation of Other Categories of Products
                                            Executive Summary                               A. Nicotine in Newly Deemed Products
RIN 0910–AG38                               I. Background                                   B. Dissolvables
                                            II. Legal Authority                             C. Gels
Deeming Tobacco Products To Be                 A. Summary of Legal Authority                D. Pipe Tobacco
Subject to the Federal Food, Drug, and         B. Responses to Comments Regarding Legal     E. Waterpipe Tobacco
Cosmetic Act, as Amended by the                   Authority                                 F. Additional Novel and Future Tobacco
Family Smoking Prevention and               III. Use of Premarket Pathways for Newly           Products
Tobacco Control Act; Restrictions on              Deemed Products                         XI. Additional Automatic Provisions
the Sale and Distribution of Tobacco           A. Background: The Three Pathways To            Applicable to Newly Deemed Products
                                                  Market a New Tobacco Product              A. Sections 902 and 903—Adulteration and
Products and Required Warning                  B. Interpretation of Substantial                Misbranding
Statements for Tobacco Products                   Equivalence                               B. Sections 904 and 915—Ingredient
AGENCY: Food and Drug Administration,          C. Comments on the Grandfather Date             Listing and Reporting of HPHCs
                                               D. Impact of Premarket Requirements          C. Section 905—Registration and Listing
HHS.
                                               E. Clinical Studies and PMTAs                D. Section 911—Elimination of Low, Light,
ACTION: Final rule.                            F. Premarket Pathways and Continuum of          and Mild, and Other Unauthorized
                                                  Risk                                         Modified Risk Claims
SUMMARY: The Food and Drug
                                               G. Other Comments                            E. Section 919—User Fees
Administration (FDA) is issuing this        IV. Implementation                              F. Tobacco Control Act section 102—
final rule to deem products meeting the        A. Effective Date for Rule                      Prohibition Against Free Samples
statutory definition of ‘‘tobacco              B. Compliance Periods for Certain          XII. Requests for Additional Regulations
product,’’ except accessories of the              Provisions                                   Applicable to Newly Deemed Products
newly deemed tobacco products, to be           C. Policy for Certain Regulatory             A. Ban on Flavored Tobacco Products
subject to the Federal Food, Drug, and            Requirements for All Manufacturers of     B. Additional Access Restrictions
Cosmetic Act (the FD&C Act), as                   Newly Deemed Products                     C. Nicotine Exposure Warnings
amended by the Family Smoking                  D. Compliance Policy Regarding Certain     XIII. Severability
                                                  Provisions and Small-Scale Tobacco      XIV. Description of the Final Rule—Part 1100
Prevention and Tobacco Control Act                Product Manufacturers                     A. Section 1100.1—Scope
(Tobacco Control Act). The Tobacco          V. Premarket Review Requirements and            B. Section 1100.2—Requirements
Control Act provides FDA authority to             Compliance Policy                         C. Section 1100.3—Definitions
regulate cigarettes, cigarette tobacco,        A. Compliance Policy for Premarket         XV. Description of the Final Rule—Part 1140
roll-your-own tobacco, smokeless                  Review Requirements                       A. Section 1140.1—Scope
tobacco, and any other tobacco products        B. Responses to Comments Regarding           B. Section 1140.2—Purpose
that the Agency by regulation deems to            Compliance Periods for Premarket          C. Section 1140.3—Definitions
be subject to the law. With this final            Review Requirements                       D. Section 1140.10—General
rule, FDA is extending the Agency’s         VI. Components, Parts, and Accessories             Responsibilities of Manufacturers,
                                               A. Definitions                                  Distributors, and Retailers
‘‘tobacco product’’ authorities in the         B. Discussion of Requirements Associated     E. Section 1140.14—Additional
FD&C Act to all other categories of               With Components and Parts                    Responsibilities of Retailers
products that meet the statutory            VII. Regulation of Cigars and Selection of      F. Comments and Responses Regarding
definition of ‘‘tobacco product’’ in the          Option 1                                     Minimum Age and Identification
FD&C Act, except accessories of such           A. Health Risks of Premium Cigars               Requirements
newly deemed tobacco products. This            B. Youth and Young Adults Use Premium        G. Comments and Responses Regarding
final rule also prohibits the sale of             Cigars                                       Vending Machines
‘‘covered tobacco products’’ to                C. Patterns of Use Do Not Preclude Users   XVI. Description of the Final Rule—Part 1143
individuals under the age of 18 and               From Experiencing Negative Health         A. Section 1143.1—Definitions
                                                  Effects                                   B. Section 1143.3—Required Warning
requires the display of health warnings        D. Responses to Other Cigar Comments            Statement Regarding Addictiveness of
on cigarette tobacco, roll-your own         VIII. Regulation of Electronic Nicotine            Nicotine
tobacco, and covered tobacco product              Delivery Systems (Including               C. Section 1143.5—Required Warning
packages and in advertisements. FDA is            E-Cigarettes) and the Continuum of           Statements for Cigars
taking this action to reduce the death            Nicotine-Delivering Products              D. Section 1143.7—Language Requirements
and disease from tobacco products. In          A. Terminology                                  for Required Warning Statements
accordance with the Tobacco Control            B. Prevalence                                E. Section 1143.9—Irremovable or
Act, we consider and intend the                C. Toxicity and Nicotine in E-Liquid and        Permanent Required Warning Statements
extension of our authorities over                 Aerosol                                   F. Section 1143.11—Does Not Apply to
                                               D. Quality Control                              Foreign Distribution
tobacco products and the various               E. Misperceptions                            G. Section 1143.13—Effective Date
requirements and prohibitions                  F. Use as a Cessation Product                H. Comments and Responses Regarding
established by this rule to be severable.      G. Modified Risk Claims                         Required Warning Statements
DATES: This rule is effective August 8,        H. Dual and Polytobacco Use                XVII. National Environmental Policy Act
2016. See section IV of this document          I. Applicability of Section 901            XVIII. Analysis of Impacts
regarding compliance dates for certain         J. Definitions                             XIX. Paperwork Reduction Act of 1995
provisions.                                    K. Sottera Decision                          A. Responses to Comments Regarding
                                            IX. Effect of Deeming Rule on Vape Shop            Proposed Collection of Information
FOR FURTHER INFORMATION CONTACT:                  Manufacturers                             B. Existing Burdens Associated With
Gerie Voss or Katherine Collins, Office        A. Premarket Requirements (Sections 910         Tobacco Products Currently Subject to
of Regulations, Center for Tobacco                and 905)                                     the FD&C Act (i.e., Cigarettes, Cigarette


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distributed for retail sale after 30 days          compliance/enforcement policies are          Investigations Subcommittee, U.S.
following the effective date);                     not subject to the requirements that         House of Representatives also called for
   • After the effective date, a distributor       govern notice-and-comment rulemaking.        a more protective compliance period
or retailer may not sell, offer to sell,           Prof’ls & Patients for Customized Care v.    than the one contemplated in the
distribute, or import for sale or                  Shalala, 56 F.3d 592 (5th Cir. 1995) (a      NPRM, arguing that the proposed
distribution within the United States              compliance policy guide is not a             compliance period ‘‘puts the nation’s
any such product the package of which              substantive rule and not subject to the      youth at risk’’ (Comment No. FDA–
does not comply with this regulation,              Administrative Procedure Act’s (APA)         2014–N–0189–80119). Further, a
unless the covered tobacco product was             notice-and-comment rulemaking);              network of tobacco control policy and
manufactured prior to the effective date;          Takhar v. Kessler, 76 F.3d 995, 1002         legal specialists expressed concern
and                                                (9th Cir. 1996) (FDA compliance policy       regarding the effect of continued
   • After the effective date, however, a          guides were not required to go through       marketing of tobacco products that have
retailer may sell covered tobacco                  notice-and-comment procedures). But          not been reviewed under the applicable
products in packages that do not have              because the relevant time periods are of     public health standards of the Tobacco
a required warning if the retailer                 obvious interest, FDA laid out its           Control Act (Comment No. FDA–2014–
demonstrates it falls outside the scope            anticipated compliance policy in the         N–0189–81044). FDA also received
of this rule as described in 21 CFR                NPRM, and for similar reasons, is            comments suggesting that the agency
1143.3(a)(3) and 1143.5(a)(4).                     announcing its revised compliance            should stagger the compliance periods
   Compliance Policy for Premarket                 policy here, rather than in a separate       for different product classes based on
Review—Manufacturers of newly                      guidance document.) As a result of           the continuum of risk, with ENDS
deemed products that are ‘‘new tobacco             FDA’s compliance policy, we expect           having a longer compliance period than
products’’ as defined in section                   that many manufacturers will keep their      other product classes (e.g., Comment
910(a)(1) of the FD&C Act will be                  products on the market beyond the            No. FDA–2014–N–0189–81859;
required to obtain premarket                       effective date of this final rule.           Comment No. FDA–2014–N–0189–
authorization of their products through            However, if a manufacturer of a product      10852). FDA also received comments
one of three pathways—SE., exemption                                                            and new data regarding the effect of
                                                   is unable to support an SE claim for its
from SE., or premarket tobacco product
                                                   product (e.g., is unable to identify a       flavored tobacco products on youth and
applications (sections 905 and 910 of
                                                   valid predicate, or does not submit an       young adult use.
the FD&C Act). As stated in the NPRM,
                                                   SE report with a valid predicate within         FDA understands that the appeal of
we understand that, for some newly
                                                   the compliance period, or does not           flavors and use of flavored tobacco
deemed tobacco products, particularly
                                                   receive authorization within a               products have an important role in the
novel products, there may not be
                                                   continued compliance period) and does        initiation and continued use of tobacco
appropriate predicate products that
                                                   not obtain authorization under one of        products, and in the health risks
were on the market on February 15,
                                                   the other available marketing pathways       associated with use of these products.
2007, to support a SE claim.
Accordingly, in the NPRM, FDA                      before the end of an applicable              Based on all of these comments, we
contemplated a compliance period of 24             compliance period, such products             have determined that exercising
months after the effective date of the             remaining on the market will be subject      enforcement discretion indefinitely
final rule for the submission of                   to enforcement (e.g., seizure, injunction)   could put youth and young adults at
applications for all newly deemed, new             for failure to have a marketing              risk for tobacco-related death and
tobacco products under all three                   authorization under sections 905 and         disease. However, we recognize that the
marketing pathways—premarket                       910 of the FD&C Act.                         availability of alternatives to traditional
tobacco applications (PMTAs), SE                      FDA’s NPRM included detailed              tobacco flavors in some products (e.g.,
reports, and SE exemption requests.2               requests for comments on different           ENDS) may potentially help some adult
   FDA carefully considered numerous               possible compliance policy approaches.       users who are attempting to transition
comments regarding the contemplated                79 FR at 23175–77. FDA received many         away from combusted products.
compliance period. Many comments                   comments on these compliance-policy          Furthermore, at least some flavored
expressed concern that newly deemed,               issues. For example, comments jointly        combusted products are likely to be
new tobacco products would remain                  submitted by 24 health and medical           ‘‘grandfathered’’ and therefore would
available and could continue to be                 organizations stated that the                remain on the market regardless of the
marketed indefinitely without scientific           contemplated 24-month compliance             compliance period provided in the
review. Other comments expressed                   period and indefinite period of              preamble. Taking into consideration all
concern, and some submitted data,                  continued marketing during FDA review        of the comments on the compliance
regarding the effect that flavors have on          included in the NPRM would prolong           period and flavors, we are establishing
youth and young adult use of tobacco               the public’s exposure to products that       staggered compliance periods. This
products. FDA also received comments               contain nicotine, a highly addictive         approach will enable FDA to balance
and data regarding the potential for               substance, and that do not meet the          concerns regarding the extended
some net public health benefits that               statutory standard for the grant of a        availability of all newly deemed, new
could accrue if flavored ENDS remain               marketing order (Comment No. FDA–            tobacco products without scientific
available. After carefully considering all         2014–N–0189–79772.). They stated that        review, concerns regarding flavored
of these comments, FDA here                        this approach would allow                    tobacco products’ appeal to youth, and
announces a revised compliance policy              manufacturers to market the newly            emerging evidence that some adults may
as well as the final rule. (Agency                 deemed products in ways that appeal to       potentially use certain flavored tobacco
                                                   youth and to manipulate the content of       products to transition away from
  2 Although the NPRM did not explicitly include   these products in uncontrolled ways for      combusted tobacco use. FDA is
SE exemption requests as one of the marketing      an indefinite period (id.). Ranking          establishing staggered initial
pathways that applicants could utilize within a
compliance period, FDA did intend for its
                                                   minority members of the Energy and           compliance periods based on the
contemplated 24-month compliance period to be      Commerce Committee, Health                   expected complexity of the applications
available for all marketing pathways.              Subcommittee, and Oversight and              to be submitted, followed by continued


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compliance periods for FDA review          request if, for example, the application     FD&C Act).3 This may possibly include
such that our exercise of enforcement      is incomplete. For newly deemed              a predicate that is in a different category
discretion will end twelve months after    tobacco products using the SE pathway,       or subcategory than the new product
each initial compliance period. In other   this continued compliance period will        that is the subject of the SE report.
words, manufacturers of all newly          close 30 months after the effective date     While FDA currently does not have a
deemed, new tobacco products will          of part 1100 of this final deeming rule      policy that limits comparisons to the
have a 12-, 18- or 24-month initial        (i.e., 12 months after the 18-month          same category, we do see cross-category
compliance period in which to prepare      initial compliance period closes for         comparisons as more challenging for an
applications for marketing                 submission and receipt of SE Reports).       applicant and we may express
authorization, as well as a 12-month       For newly deemed tobacco products            limitations on such comparisons in the
continued compliance period after those    using the PMTA pathway, this                 future, if they become warranted as we
dates in which to obtain authorization     continued compliance period will close       gain experience regulating newly
from FDA (resulting in total compliance    36 months after the effective date (i.e.,    deemed products. FDA also is
periods of 24, 30, or 36 months). After    12 months after the 24-month                 continuing to research e-cigarettes, other
the close of the continued compliance      compliance period closes for                 ENDS, and heated cigarette products
period, products will be subject to        submission and receipt of PMTAs). Any        that likely were on the market ‘‘as of’’
enforcement unless they are                such newly deemed tobacco product for        (i.e., on) February 15, 2007.
grandfathered or are the subject of a      which an application under one of the        Additionally, FDA has determined that
marketing authorization order. FDA’s       three marketing pathways has not been        some e-cigarettes and other ENDS were
revised compliance policy for premarket    submitted within 24 months from the          manufactured in 2006 and commercially
review—resulting in products remaining     effective date of part 1100 of this final    marketed in the United States in early
on the market while manufacturers seek     deeming rule will not benefit from this      2007. In particular, we have identified
review but also contemplating an end to                                                 an ENDS product that may have been on
                                           continued compliance policy and will
the continued compliance policy—will                                                    the market on February 15, 2007. This
                                           be subject to enforcement as of that date.
balance the public health concerns                                                      product may possibly be able to serve as
                                           In addition, once the respective
raised in the comments, allow the                                                       a valid predicate for purposes of the SE
                                           continued compliance period ends for
Agency to more efficiently manage the                                                   pathway. The burden of demonstrating
flow of incoming applications, and         products with applications submitted         that a valid predicate exists rests with
encourage high-quality premarket           according to this policy, products           the manufacturer submitting a SE
submissions from applicants.               remaining on the market without              report. To facilitate the determination
   According to this revised compliance    premarket authorizations in effect, even     that a product is eligible to serve as a
policy, for newly deemed products that     if the product has a pending application     valid predicate, any individual who has
are on the market on the effective date    that was originally submitted by its         evidence that an e-cigarette or other
of this final rule and were not on the     respective initial compliance deadline       ENDS was commercially marketed in
market on February 15, 2007, FDA is        set forth previously in this document,       the United States on February 15, 2007,
providing a 12-month initial compliance    will be subject to enforcement.              may submit a stand-alone grandfather
period for manufacturers to submit (and    However, if at the time of the               submission to FDA (See final guidance,
FDA to receive) an SE exemption            conclusion of the continued compliance       ‘‘Establishing That a Tobacco Product
request, an 18-month initial compliance    period, the applicant has provided the       Was Commercially Marketed in the
period for manufacturers to submit (and    needed information and review of a           United States as of February 15, 2007’’
FDA to receive) SE applications, and a     pending marketing application has            (79 FR 58358, September 29, 2014)).
24-month initial compliance period for     made substantial progress toward             (Based on FDA’s experiences to date,
manufacturers to submit (and FDA to        completion, FDA may consider, on a           and since stand-alone grandfather
receive) a PMTA.                           case-by-case basis, whether to defer         submissions are purely voluntary, FDA
   If manufacturers submit (and FDA        enforcement of the premarket                 does not anticipate that many
receives) the applications during their    authorization requirements for a             manufacturers will make such
respective compliance periods, FDA, for    reasonable time period.                      submissions, but this option is
a certain period of time as discussed in      Regarding concerns as to the inability    available.) Regardless of the predicate
the following paragraph, intends to        to use the SE pathway for certain            selected for comparison, manufacturers
continue the compliance policy and         products, FDA notes that an applicant        are responsible for providing scientific
does not intend to initiate enforcement                                                 data adequate to demonstrate that, in
                                           may use as a predicate any tobacco
action for these products remaining on                                                  the case of an SE report, the
                                           product commercially marketed in the
the market without FDA authorization.                                                   characteristics of the new product are
   For newly deemed tobacco products       United States as of February 15, 2007,
                                           or previously found substantially            the same as the predicate or, if the
using the SE Exemption pathway, this                                                    characteristics are different, that these
continued compliance period (i.e., the     equivalent (note that we interpret the
                                           phrase ‘‘as of’’ February 15, 2007, as       differences do not cause the new
time during which FDA does not intend                                                   product to raise different questions of
to enforce the premarket review            meaning that the tobacco product was
                                                                                        public health. We encourage interested
requirements) will close 24 months after   commercially marketed (other than
                                                                                        parties to review the applications FDA
the effective date of part 1100 of this    exclusively in test markets) in the
final deeming rule (i.e.,12 months after   United States on February 15, 2007. If          3 FDA Guidance states that ‘‘[i]f you cannot

the 12-month initial compliance period     your tobacco product had been                provide documentation specifically dated on
closes for submission and receipt of SE    commercially marketed in the United          February 15, 2007, FDA suggests you provide
                                           States before February 15, 2007, but was     documentation of commercial marketing for a
exemption requests). The earlier                                                        reasonable period of time before and after February
submission period for the SE exemption     not commercially marketed on that date,      15, 2007.’’ Guidance for Industry entitled
pathway is intended to allow the           it is not a grandfathered product and        ‘‘Establishing That a Tobacco Product Was
manufacturer time to consider other        may not be commercially marketed             Commercially Marketed in the United States as of
                                                                                        February 15, 2007 (79 FR 58358, Sept. 29, 2014),
pathways if the exemption request is       unless you obtain a marketing                The guidance also provides examples of sources of
denied or if FDA refuses to accept the     authorization under section 910 of the       evidence, e.g., bills of lading.



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NPRM, arguing that the proposed             81859; Comment No. FDA–2014–N–              change itself and any supporting
compliance period ‘‘puts the nation’s       0189–10852).                                information demonstrating that the
youth at risk’’ (Comment No. FDA–              In response to these comments, we        change to the product is minor and an
2014–N–0189–80119). These comments,         note that nicotine use in any form is of    SE Report is not necessary. This is less
among others, all stressed the              particular concern for youth and            information than that likely required for
attractiveness of these newly deemed        pregnant women. On the other hand,          a PMTA. We expect this policy will also
tobacco products to youth and young         some evidence suggests that ENDS may        create a more manageable flow of
adults and the need for a more              potentially promote transition away         premarket applications for newly
restrictive compliance policy to ensure     from combusted tobacco use among            deemed products. FDA expects that this
that FDA limits the continued marketing     some current users and it is possible       staggering of deadlines also will benefit
of new tobacco products that have not       that there could be a public health         regulated industry, since it will allow
been reviewed under the public health       benefit. See also section III.F for         for greater efficiency of FDA review and
standards of the Tobacco Control Act.       additional discussion of premarket          incentivize higher quality applications,
   Further, in response to FDA’s requests   pathways and the continuum of               which will reduce review times for all
for comments and data in the NPRM,          nicotine-delivering products. Based on      products. New products for which no
numerous comments included data,            currently available scientific evidence,    application has been submitted by 24
research, and personal stories regarding    this revised compliance policy strikes      months from the effective date of this
the impact of candy and fruit flavors in    an appropriate balance among various,       rule will no longer be subject to this
tobacco products, including their appeal    often competing, considerations.            compliance policy and will be subject to
to youth and young adults, youth            2. FDA Is Announcing a Revised              enforcement.
perceptions of flavored tobacco                                                            Unless FDA has issued an order
                                            Compliance Policy With Staggered
products, and their potential effect on                                                 denying or refusing to accept the
                                            Timeframes and Continued Compliance
transition from combusted tobacco                                                       submission, products for which timely
                                            Periods
product use (particularly, comments                                                     premarket submissions have been
                                               In the interest of public health and     submitted will be subject to a continued
noted, in the case of adults using          taking into account the fact that there
flavored ENDS to attempt to switch                                                      compliance period for 12 months after
                                            are products already on the market that     the initial compliance period described
completely away from cigarette              will now be subject to premarket
smoking). In addition, many comments                                                    previously. For such products, FDA
                                            review, and in light of the                 does not intend to initiate enforcement
urged FDA to take immediate action          considerations discussed in section 1       for failure to have premarket
regarding flavored tobacco products as a    above, we have established the              authorization during this continued
result of increasing prevalence of          following compliance policy for newly       compliance period, which is as follows:
flavored product use, and new data          deemed tobacco products. For those             SE Exemption Requests—24 months
show continued growth in youth and          newly deemed products that were on          from the effective date of this final rule
young adult usage of flavored tobacco       the market on the effective date of this    (12 months after the compliance period
products.                                   final rule, but that were not on the        for submission of such requests)
   In deciding upon a compliance policy     market on February 15, 2007, FDA is            SE Reports—30 months from the
to announce with this final rule, FDA       providing two compliance periods: One       effective date of this final rule (12
considered all these comments and           for submission and FDA receipt of           months after the compliance period for
sought to balance the Agency’s concern      applications and one for obtaining          submission of such reports)
about the continued marketing of new        premarket authorization. Although such         PMTAs—36 months from the effective
tobacco products that have not been         products are subject to the premarket       date of this final rule (12 months after
reviewed by FDA, the potential harmful      review requirements of the FD&C Act,        the compliance period for submission of
impact of flavored tobacco products on      FDA does not intend to initiate             such requests).13
youth, and the possibility that some of     enforcement action for failure to have         Once the continued compliance
those products are playing a role in        premarket authorization during the          period ends, new tobacco products on
helping some tobacco users transition       respective compliance periods.              the market without authorization will be
away from what is likely the most              The compliance period for                subject to enforcement. FDA will act as
harmful form of nicotine delivery for an    submission and FDA receipt of               expeditiously as possible with respect to
individual user, combusted tobacco          applications for newly deemed tobacco       all new applications, while ensuring
products. FDA considered adopting the       products under the three premarket          that statutory standards are met. FDA
compliance policy as described in the       pathways is as follows:                     expects that this revised compliance
preamble to the NPRM or a compliance          SE Exemption Requests—12 months from      policy will encourage the submission of
policy that would provide different         the effective date of this final rule       high quality applications. By providing
compliance periods for flavored and           SE Reports—18 months from the effective   a date in which the continued
non-flavored tobacco products. FDA          date of this final rule                     compliance period ends, manufacturers
also considered providing different           PMTAs—24 months from the effective date   will have an incentive to submit a
compliance periods for different            of this final rule                          complete application and respond
product categories. For example, certain      FDA is adopting the staggered             substantively and expeditiously to
industry comments urged FDA to              timelines in this policy to account for     questions raised during the review
stagger compliance dates for different      the possibility that applicants may need    process instead of an incomplete or
product categories, to delay compliance     additional time to gather information for   deficient application just to stay on the
until FDA publishes a final guidance for    certain premarket submissions that may      market indefinitely. This staggered
each product category and to provide        require additional data. For example, if
ENDS manufacturers a lengthier              a manufacturer plans to submit an SE          13 In addition, we note that any new tobacco

compliance period based on where they       Exemption Request, the firm may only        product that was not on the market on the effective
                                                                                        date of the rule (i.e., 90 days after the publication
purport to fit within the risk continuum    need to identify the product, provide       date) is not covered by this compliance policy and
for nicotine-delivering products (e.g.,     certification statements, and gather        will be subject to enforcement if marketed without
Comment No. FDA–2014–N–0189–                scientific information on the additive      authorization after the effective date.



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the total for each type of transaction in         DEPARTMENT OF HEALTH AND                    • If you want to submit a comment
which they engaged.                               HUMAN SERVICES                            with confidential information that you
   (i) Voluntary reporting of insurance                                                     do not wish to be made available to the
transactions. If, during calendar year            Food and Drug Administration              public, submit the comment as a
2018, total transactions were $2 million                                                    written/paper submission and in the
or less in each of the insurance                  21 CFR Parts 11 oo, 1140, and 1143        manner detailed (see "Written/Paper
categories covered by the survey, on an                                                     Submissions" and "Instructions" ).
                                                  [Docket No. FDA-2015-O-2496]
accrual basis, the U.S. insurance                                                           Written/Paper Submissions
company may, in addition to providing             Premarket Tobacco Product                   Submit written/paper submissions as
the required total for each type of               Applications for Electronic Nicotine      follows:
transaction, voluntarily report                   Delivery Systems; Guidance for              • Mail/Hand Delivery/Courier (for
transactions at a country and affiliation         Industry; Availability                    written/paper submissions): Dockets
level of detail on the applicable
mandatory schedule(s).                            AGENCY: Food and Drug Administration, Management Staff (HFA- 305), Food and
                                                  HHS.                                      Drug Administration, 5630 Fishers
   (ii) [Reserved)                                                                          Lane, Rm. 1061, Rockville, MD 20852.
                                                  ACTION: Notification of availability.       • For written/paper comments
   (3) Exemption claims. Any U.S.
person that receives the BE- 140 survey           SUMMARY: The Food and Drug                submitted   to the Dockets Management
form from BEA, but is not subject to the          Administration (FDA) is announcing the Staff, FDA will post your comment, as
reporting requirements, must file an              availability of a final guidance for      well as any attachments, except for
exemption claim by completing the                 industry entitled "Premarket Tobacco      information submitted, marked and
determination of reporting status section                                                   identified, as confidential, if submitted
                                                  Product Applications for Electronic
of the BE- 140 survey and returning it to                                                   as detailed in "Instructions."
                                                  Nicotine Delivery Systems, Guidance for     Instructions: All submissions received
BEA by the due date of the survey. The            Industry." Given the relatively new
requirement in this paragrpah (b)(3) is                                                     must include the Docket No. FDA-
                                                  presence of electronic nicotine delivery 2015-D-2496 for " Premarket Tobacco
necessary to ensure compliance with               systems (ENDS) on the U.S. market and
reporting requirements and efficient                                                        Product Applications for Electronic
                                                  FDA's final rule deeming these products Nicotine Delivery Systems, Guidance for
administration of the Act by eliminating          to be subject to the tobacco product
unnecessary follow-up contact.                                                              Industry." Received comments will be
                                                  authorities in the Federal Food, Drug,
                                                                                            placed in the docket and, except for
   (d) Covered types of insurance                 and Cosmetic Act (FD&C Act), FDA          those submitted as "Confidential
services. Insurance services covered by           expects to receive premarket tobacco      Submissions," publicly viewable at
the BE--140 survey consist of                     product application (PMTA)
transactions between U.S. insurance
                                                                                            https:l /www.regulations.gov or at the
                                                  submissions from manufacturers of         Dockets Management Staff between 9
companies and foreign persons for:                ENDS. This guidance is intended to        a.m . and 4 p .m ., Monday through
   (1) Premiums earned on reinsurance             assist applicants to prepare PMTAs for    Friday.
assumed from companies resident                   ENDS products.                              • Confidential Submissions- To
abroad;                                           DATES: The announcement of the            submit a comment with confidential
   (2) Losses incurred on reinsurance             guidance is published in the Federal      information that you do not wish to be
assumed from companies resident                   Register on June 12, 2019.                made publicly available, submit your
abroad;                                           ADDRESSES: You may submit either          comments only as a written/paper
   (3) Premiums paid for reinsurance              electronic or written comments on         submission. You should submit two
ceded to companies resident abroad;               Agency guidances at any time as           copies total. One copy will include the
   (4) Losses recovered on reinsurance            follows:                                  information you claim to be confidential
                                                                                            with a heading or cover note that states
ceded to companies resident abroad;               Electronic Submissions                    "THIS DOCUMENT CONTAINS
   (5) Premiums earned from direct                   Submit electronic comments in the      CONFIDENTIAL INFORMATION." The
insurance sold to foreign persons;                following way:                            Agency will review this copy, including
   (6) Losses incurred on direct                     • Federal eRulemaking Portal:          the claimed confidential information, in
insurance sold to foreign persons;                https:llwww.regulations.gov. Follow the its consideration of comments. The
   (7) Receipts for auxiliary insurance           instructions for submitting comments.     second copy, which will have the
services provided to foreign persons;             Comments submitted electronically,        claimed confidential information
and                                               including attachments, to https:/1        redacted/blacked out, will be available
   (8) Payments for auxiliary insurance           www.regulations.gov will be posted to     for public viewing and posted on
services provided by foreign persons.             the docket unchanged. Because your        https:l /www.regulations.gov. Submit
   (e) Types of transactions excluded             comment will be made public, you are      both copies to the Dockets Management
                                                  solely responsible for ensuring that your Staff. If you do not wish your name and
from the scope of this survey. Premiums
                                                  comment does not include any              contact information to be made publicly
paid to, or losses received from, foreign
                                                  confidential information that you or a    available, you can provide this
insurance companies on direct
                                                  third party may not wish to be posted,    information on the cover sheet and not
insurance.
                                                  such as medical information, your or      in the body of your comments and you
   (f) Due date. A fully completed and            anyone else's Social Security number, or must identify this information as
certified BE- 140 report, or qualifying           confidential business information, such "confidential." Any information marked
exemption claim with the determination            as a manufacturing process. Please note   as "confidential" will not be disclosed
of reporting status section completed, is         that if you include your name, contact    except in accordance with 21 CFR 10.20
due to be filed with BEA not later than           information, or other information that    and other applicable disclosure law. For
September 30, 2019.                               identifies you in the body of your        more information about FDA's posting
[FR Doc. 2019-12373 Filed 6-11- 19; 8:45 am)      comments, that information will be        of comments to public dockets, see 80
BILLING CODE 3 5 1 ~                              posted on https:l/www.regulations.gov.    FR 56469, September 18, 2015, or access


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the information at: https://www.gpo.gov/    To Be Subject to the Federal Food, Drug,    II. Significance of Guidance
fdsys/pkg/FR-2015-09-18/pdf/2015-           and Cosmetic Act, as Amended by the            This guidance is being issued
23389.pdf.                                  Family Smoking Prevention and               consistent with FDA’s good guidance
   Docket: For access to the docket to      Tobacco Control Act; Restrictions on the    practices regulation (21 CFR 10.115).
read background documents or the            Sale and Distribution of Tobacco            The guidance represents the current
electronic and written/paper comments       Products and Required Warning               thinking of FDA on PMTAs for ENDS.
received, go to https://                    Statements for Tobacco Products’’           It does not establish any rights for any
www.regulations.gov and insert the          (Deeming rule) extending FDA’s tobacco      person and is not binding on FDA or the
docket number, found in brackets in the     product authority to ENDS, among other      public. You can use an alternative
heading of this document, into the          products (81 FR 28973). In the same         approach if it satisfies the requirements
‘‘Search’’ box and follow the prompts       issue of the Federal Register, FDA          of the applicable statutes and
and/or go to the Dockets Management         concurrently announced the availability     regulations. This guidance is not subject
Staff, 5630 Fishers Lane, Rm. 1061,         of the draft guidance, ‘‘Premarket          to Executive Order 12866.
Rockville, MD 20852.                        Tobacco Product Applications for
   You may submit comments on any                                                       III. Paperwork Reduction Act of 1995
                                            Electronic Nicotine Delivery Systems,
guidance at any time (see 21 CFR                                                          This guidance refers to previously
                                            Draft Guidance for Industry;
10.115(g)(5)).                                                                          approved collections of information
                                            Availability; Agency Information
   Submit written requests for single                                                   found in FDA regulations. These
copies of this guidance to the Center for   Collection Activities; Proposed
                                            Collection; Comment Request’’ (81 FR        collections of information are subject to
Tobacco Products, Food and Drug                                                         review by the Office of Management and
Administration, Document Control            28781). FDA received comments on the
                                            draft guidance and those comments           Budget (OMB) under the Paperwork
Center, 10903 New Hampshire Ave.,                                                       Reduction Act of 1995 (44 U.S.C. 3501–
Bldg. 71, Rm. G335, Silver Spring, MD       were considered as the guidance was
                                            finalized. Changes made as a result of      3520). The collections of information in
20993–0002. Send one self-addressed                                                     21 CFR 1107.1 have been approved
adhesive label to assist that office in     public comments include
                                            recommendations for constituent             under OMB control number 0910–0768.
processing your request or include a fax
number to which the guidance                testing, single applications for new        IV. Electronic Access
document may be sent. See the               tobacco products that an applicant            Persons with access to the internet
SUPPLEMENTARY INFORMATION section for       intends to market as a modified risk        may obtain an electronic version of the
information on electronic access to the     tobacco product, and the number             guidance at either https://
guidance.                                   batches and replicates related to product   www.regulations.gov or https://
FOR FURTHER INFORMATION CONTACT: Paul       testing.                                    www.fda.gov/tobacco-products/
Hart, Center for Tobacco Products, Food        Under section 910 of the FD&C Act        products-guidance-regulations/rules-
and Drug Administration, Document           (21 U.S.C. 387j), persons seeking to        regulations-and-guidance.
Control Center, 10903 New Hampshire         market a new tobacco product (as              Dated: June 7, 2019.
Ave., Bldg. 71, Rm. G335, Silver Spring,    defined in section 910(a)(1) of the FD&C    Lowell J. Schiller,
MD 20993–0002, 1–877–CTP–1373,              Act) must first submit a PMTA to FDA        Principal Associate Commissioner for Policy.
email: CTPRegulations@fda.hhs.gov.          and obtain a marketing authorization        [FR Doc. 2019–12389 Filed 6–11–19; 8:45 am]
SUPPLEMENTARY INFORMATION:                  order, unless FDA has issued an order
                                                                                        BILLING CODE 4164–01–P
I. Background                               that the new tobacco product is
                                            substantially equivalent to a tobacco
   FDA is announcing the availability of    product commercially marketed in the
a guidance for industry entitled                                                        DEPARTMENT OF DEFENSE
                                            United States as of February 15, 2007,
‘‘Premarket Tobacco Product                 or the new tobacco product is exempt
Applications for Electronic Nicotine                                                    Office of the Secretary
                                            from demonstrating substantial
Delivery Systems.’’                         equivalence pursuant to the reasons
   On June 22, 2009, the President                                                      32 CFR Part 171
                                            outlined in section 905(j)(3) of the FD&C
signed the Family Smoking Prevention        Act (21 U.S.C. 387e(j)(3)). ENDS            [Docket ID: DOD–2018–OS–0051]
and Tobacco Control Act (Tobacco
                                            products, the subject of this guidance,     RIN 0790–AK42
Control Act) (Pub. L. 111–31) into law.
                                            likely would be considered new tobacco
The Tobacco Control Act amended the
                                            products. Given the relatively new          Wildfire Suppression Aircraft Transfer
FD&C Act and granted FDA authority to
                                            presence of ENDS on the U.S. market,        Act of 1996
regulate the manufacture, marketing,
and distribution of tobacco products to     FDA anticipates that many
                                                                                        AGENCY: Office of the Assistant
protect public health generally and to      manufacturers of these new tobacco          Secretary of Defense for Sustainment,
reduce tobacco use by minors. Under         products will seek a marketing              DoD.
section 901(b) of the FD&C Act (21          authorization order by filing a PMTA.
                                                                                        ACTION: Final rule.
U.S.C. 387a(b)), FDA’s tobacco product      This guidance explains, among other
authorities in chapter IX of the FD&C       things, when a PMTA is required,            SUMMARY: This final rule removes the
Act apply to all cigarettes, cigarette      general procedures for review of an         DoD regulation which implemented law
tobacco, roll-your-own tobacco, and         ENDS PMTA, what information the             authorizing the sale of aircraft and
smokeless tobacco and to any other          FD&C Act requires applicants to submit      aircraft parts to entities that contract
tobacco products that the Secretary of      in a PMTA, and what information FDA         with the Federal government for the
Health and Human Services by                recommends applicants submit in an          delivery of fire retardant by air in order
regulation deems to be subject to           ENDS PMTA to show whether                   to suppress wildfire. This authorization
chapter IX. On May 10, 2016, in the         permitting such new tobacco product to      has since expired. Existing statutory
Federal Register, FDA published its         be marketed is appropriate for the          authorities allow the sale or transfer of
final rule, ‘‘Deeming Tobacco Products      protection of the public health.            aircraft and aircraft parts to Fire Fighter


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submit an environmental assessment           identifying information for the previous        premarket review or has received
under part 25 of this chapter.               submission.                                     premarket authorization.
   (d) Disclosure of data and information      (2) A statement that creation and/or          DATES: This rule is effective November
after issuance of an order under             submission of information in electronic         4, 2021.
§ 1107.48. After FDA issues an order         format is not reasonable for the person
                                                                                             FOR FURTHER INFORMATION CONTACT: Paul
under§ 1107.48 (denying marketing            requesting the waiver, and an
                                                                                             Hart, Office of Regulations, Center for
authorization), FDA may make certain         explanation of why creation and/or
                                                                                             Tobacco Products (CTP), Food and Drug
information related to the SE Report and     submission in electronic format is not
                                                                                             Administration, Document Control
the order available for public disclosure    reasonable. This statement must be
                                                                                             Center, 10903 New Hampshire Ave.,
upon request or at FDA's own initiative      signed by the applicant or by an
                                                                                             Bldg. 71, Rm. G335, Silver Spring, MD
except to the extent the information is      employee of the applicant who is
                                                                                             20993,877- 287- 1373,AskCTP@
otherwise exempt from disclosure under       authorized to make the declaration on
                                             behalf of the applicant.
                                                                                             fda.hhs .gov.
part 20 of this chapter. Information FDA
may disclose includes the tobacco              (c) Paper submission. An applicant            SUPPLEMENTARY INFORMATION:
product category (e.g., cigarette),          who has obtained a waiver from filing
                                                                                             Table of Contents
tobacco product subcategory (e.g.,           electronically must send a written SE
filtered), package size, and the basis for   Report through the Document Control             Executive Summary
the order denying marketing                  Center to the address provided in the              A. Purpose of the Regulatory Action
authorization.                               FDA documentation granting the                     B. Legal Authority
                                             waiver.                                            C. Summary of Major Provisions
   (e) Health information summary or                                                            D. Costs and Benefits
statement. Health information required         Dated: September 21, 2021.                    Table of Abbreviations/ Commonly Used
by section 910(a)(4) of the Federal Food,    Janet Woodcock,                                       Acronyms
Drug, and Cosmetic Act, if submitted as      Acting Commissioner ofFood and Drugs.           l. Background
part of the SE Report (which includes        [FR Doc. 2021- 21009 Filed 10--4-21; 8:45 am]
                                                                                             II. Legal Authority
any amendments), will be disclosed                                                           ill. General Description of Comments on the
                                             BILLING CODE 4164-01...P                              Proposed Rule
within 30 calendar days of issuing a
substantially equivalent order. If the                                                       IV. Description of the Final Regulations for,
                                                                                                   and the Comments on and FDA's
applicant has instead submitted a            DEPARTMENT OF HEALTH AND                              Responses Regarding, the Maintenance
910(a)(4) statement as provided in           HUMAN SERVICES                                        of Records Demonstrating That a
§1107.180)(2), FDA will make publicly                                                              Tobacco Product Was Commercially
available on FDA's website the               Food and Drug Administration                          Marketed in the United States as of
responsible official to whom a request                                                             February 15, 2007 (Part 1100, Subpart C)
for health information may be made.          21 CFR Parts 1100, 1107 and 1114                   A. Purpose and Scope (§ 1100.200)
                                                                                                B. Definitions (§ 1100.202)
§1107.62 Electronic submission.              [Docket No. FDA-2019-N-2854]                       C. Recordkeeping Requirements
  (a) Electronic format requirement.                                                               (§ 1100.204)
Applicants submitting any documents          RIN 0910-AH44                                   V. Description of the Final Regulations for,
                                                                                                   and the Comments and FDA's Responses
to the Agency under this part must                                                                 Regarding, the Maintenance of Records
provide all required information to FDA      Premarket Tobacco Product
                                             Applications and Recordkeeping                        Relating to Exemptions From the
using the Agency's electronic system,                                                              Requirements of Demonstrating
except as provided in paragraph (b) of       Requirements                                          Substantial Equivalence(§ 1107.3)
this section. The SE Report and all          AGENCY: Food and Drug Administration,              A. Definition
supporting information must be in an         HHS.                                               B. Record Maintenance
electronic format that FDA can process,                                                         C. Record Quality
                                             ACTION: Final rule.                                D. Record Retention
read, review, and archive.
   (b) Waivers from electronic format                                                        VI. Description of the Final Regulations for,
                                             SUMMARY: The Food and Drug                            and the Comments and FDA's Responses
requirement. An applicant may submit         Administration (FDA, the Agency, us, or               Regarding, Premarket Tobacco Product
a written request that is legible and        we) is issuing a final rule that sets forth           Applications (Part 1114)
written in English, to the Center for        requirements for premarket tobacco              VII. General (Part 1114, Subpart A)
Tobacco Products asking that FDA             product applications (PMTAs) and                   A. Scope (§ 1114.1)
waive the requirement for electronic         requires manufacturers to maintain                 B. Definitions(§ 1114.3)
format and content. Waivers will be          records establishing that their tobacco         Vill. Premarket Tobacco Product
granted if use of electronic means is not    products are legally marketed. The rule               Applications (Part 1114, Subpart B)
reasonable for the person requesting the                                                        A. Application Submission(§ 1114.5)
                                             will help ensure that PMTAs contain                B. Required Content and Format(§ 1114.7)
waiver. To request a waiver, applicants      sufficient information for FDA to                  C. Amendments(§ 1114.9)
can send the written request to the          determine whether a marketing granted              D. Withdrawal by Applicant(§ 1114.11)
address included on our website              order should be issued for a new                   E. Change in Ownership of an Application
(www.fda.gov/tobaccoproducts). The           tobacco product. The rule codifies the                (§1114.13)
request must include the following           general procedures FDA will follow                 F. Supplemental Application Submission
information:                                 when evaluating PMTAs and creates                     (§1114.15)
   (1) The name and address ofthe            postmarket reporting requirements for              G. Resubmissions(§ 1114.17)
applicant, list of individuals authorized    applicants that receive marketing               IX. FDA Review (Part 1114, Subpart C)
                                                                                                A. Communications Between FDA and
for the applicant to serve as the contact    granted orders. The rule also requires                Applicants(§ 1114.25)
person, and contact information              tobacco product manufacturers to keep              B. Review Procedure(§ 1114.27)
including an email address. If the           records establishing that their tobacco            C. FDA Action on an Application
applicant has submitted an SE Report         products are legally marketed, such as                (§ 1114.29)
previously, the regulatory                   documents showing that a tobacco                   D. Issuance of a Marketing Granted Order
correspondence must also include any         product is not required to undergo                    (§ 1114.31)


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                                                TABLE 2—ESTIMATED ANNUAL REPORTING BURDEN 1—Continued
                                                                                                                  Number of                      Total                        Average
                       21 CFR part; activity                                           Number of                responses per                   annual                      burden per                 Total hours
                                                                                      respondents
                                                                                                                  respondent                  responses                      response

    Total ........................................................................   ........................   ........................   ........................   ..............................         13,540
  1 There are no capital costs or operating and maintenance costs associated with this collection of information.
   2 FDA anticipates that applicants will submit bundled PMTAs, which are single submissions containing PMTAs for a number of similar or re-
lated products. We estimate that a bundle will contain on average (between 6 and 11) with most submitting 9 distinct products.


   FDA has based these estimates on the                                  the purpose of the review of the PMTA                                       applications contained in a grouped
full analysis of economic impacts and                                    application (more burdensome).                                              submission.
experience with current PMTA                                                FDA developed Form FDA 4057 for                                             Based on the Form FDA 4057 for use
submissions. Table 1 describes the                                       use when submitting PMTA single and                                         when submitting PMTA single and
current estimates for OMB control                                        bundled submissions. FDA estimates                                          bundled submissions, a respondent
number 0910–0768 which covers the                                        that 24 respondents will submit PMTA                                        would utilize Form FDA 4057b once for
burden for ENDS products PMTA                                            bundles using this form at 0.75 (45                                         each submission containing more than
submissions. These estimates were                                        minutes) per response. The number 24                                        one PMTA. We assume the submitter
originally published in the deeming                                      is accounting for the bundles of ENDS                                       could include from 2 to 2,000 products
final rule and recently in the Federal                                   products and the 1 bundle we expect to                                      in each Form FDA 4057b. Entering data
Register of April 22, 2019 (84 FR                                        receive yearly for originally regulated                                     for up to 2,000 rows can take
16673). FDA estimates that it will take                                  products. (200 + 1 = 201/8.5 products                                       approximately 4 hours on average per
each respondent approximately 1,500                                      on average in a bundle) for a total of 12                                   Form FDA 4057b for manual data entry.
hours to prepare a PMTA seeking an                                       hours.                                                                      However, FDA’s original estimate that
order from FDA allowing the marketing                                       FDA developed Form FDA 4057a for                                         Form 4057b would estimate 4 hours per
of a new tobacco product. FDA also                                       use when firms are submitting                                               response was a high-end estimate and
estimates that it would on average take                                  amendments and other general                                                not an average. We now reflect the
an additional 213 hours to prepare an                                    correspondence. Our estimate is 0.16                                        average time of 45 minutes per response
EA in accordance with the requirements                                   (10 minutes) per response to fill out this                                  based on the assumption that we expect
of § 25.40, for a total of 1,713 hours per                               form. We estimate there will be at least                                    to receive an average of nine bundled
PMTA application.                                                        one amendment per application for a                                         products per submission. Assuming 45
                                                                         total of 28 hours. With most                                                minutes per Form FDA 4057b for 24
   Table 1 describes the estimated
                                                                         applications being submitted toward the                                     applications, we estimate a total burden
annual reporting burden per the
                                                                         end of our 3-year range, we expect fewer                                    of 18 hours for this activity.
requirements that the rule would create
                                                                         amendments during this period.
beyond what is covered in the existing                                                                                                                  FDA estimates under § 1114.41 that
                                                                         However, FDA expects correspondence
information collection. For this analysis,                                                                                                           three respondents will submit a periodic
                                                                         from earlier applications to be
FDA assumes that firms will submit all                                                                                                               report. This number is based on the
                                                                         submitted during this period.
applications as PMTA bundles. We also                                                                                                                average number of periodic report
                                                                            FDA developed an additional form
considered updated data on market                                                                                                                    submissions expected between 2020–
                                                                         (Form FDA 4057b) that will assist
consolidation that has occurred since                                                                                                                2022. The RIA estimates that periodic
                                                                         industry and FDA in identifying the
the deeming final rule was published.                                    products that are the subject of a                                          reports will take between 20 and 80
For originally regulated products we                                     submission where an applicant groups                                        hours per submission. For this estimate,
expect to receive one full PMTA                                          multiple PMTAs into a single                                                we use the average of 50 per response
submission for a total of 1,713 hours.                                   submission (referred to as a bundled                                        for a total of 150 hours.
   FDA conducted a thorough analysis of                                  submission or a grouped submission).                                           Under § 1114.9 firms will prepare
the current paperwork burden                                             FDA has previously stated that one                                          amendments to PMTA bundles in
associated with the PMTA program and                                     approach to submitting PMTAs could be                                       response to deficiency letters. These
other similar forms and applied the                                      to group applications for products that                                     amendments contain additional
most accurate burden to the forms;                                       are both from the same manufacturer or                                      information that we need to complete
however, upon further review and                                         domestic importer and in the same                                           substantive review. In the RIA we state
certain updates made to the form based                                   product category and subcategory into a                                     in our limited history reviewing
on comments received and product                                         single submission. FDA discussed                                            PMTAs, we on average issue two
categorization changes, FDA has revised                                  bundled submissions in the proposed                                         deficiency letters. Based on this, we
the burden associated with entering the                                  rule (84 FR 50566 at 50578) and noted                                       would anticipate two responses back
data into the form (which includes                                       that FDA intends to consider                                                per bundle. Therefore, we estimate that
searching existing data sources and                                      information on each tobacco product as                                      24 respondents will submit 48
gathering and maintaining the data                                       a separate, individual PMTA. The form                                       amendments (24 × 2). Assuming 1,500
needed) to be 45 minutes per individual                                  will assist applicants in providing the                                     hours as the time to prepare and submit
product (rather than 30 minutes per                                      unique identifying information for each                                     a full PMTA and amendments may on
product) on Form FDA 4057. For Form                                      product in a grouped submission of                                          average take 10 percent to 15 percent of
FDA 4057a, FDA has revised the burden                                    PMTAs that are required                                                     that time (150–225). We averaged this
for this form to 10 minutes (from 5                                      § 1114.7(c)(3)(iii). By having the                                          time out (12.5 percent of a full
minutes). This form serves several                                       identifying information for products                                        submission preparation time) and
purposes from changing a point of                                        contained in a submission be more                                           arrived at 188 hours per response. FDA
contact (minimal burden) to providing                                    clearly organized, FDA will be able to                                      estimates the total burden hours for
additional substantive information for                                   more efficiently process and review the                                     preparing amendments is 9,024 hours.


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